 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW-Y.ORK

4K

 

  

VitlLmk.  QaWMyYyr|

 

  

 

Write the full name of each plaintiff. se
(Include case number if one has been
assigned}
-against-

COMPLAINT
A wecz.orws + Coir

 

Do you want a jury trial?

OYes No

 

 

 

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section Il.

 

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

Rev. 1/9/17

 
I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. 4 1331, a case arising under the United
States Constitution or federal Jaws or treaties is a federal question case. Under 28 U.S.C, § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
L] Federal Question
TR Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

 

 

 

 

B. Ifyou checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The piaintiff, VV 4m iV iS (La NEMO , is a citizen of the State of

{Plaintiff's name)

Wew York Sya xe

(State in which the person resides and intends to remain.)

 

 

or, ifnot lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2

 
If the defendant is an individual:

The defendant, Owez-o he! Ce re , 18 a citizen of the State of
(Defendant's name)

Seattle ~— seegar WA 16107

or, if not lawfully adinitted for permanent residence in the United States, a citizen or

 

 

subject of the foreign state of

 

If the defendant is a corporation:

The defendant, Awa (AD ar + Cs ~ , is incorporated under the laws of

the State of Cottle 7 TCE ee LO “ 4] SI o7 UY A: PEL oO?
and has its principal place of business in the State of Sp ott O ss

or is incorporated under the laws of (foreign state)

 

 

and has its principal place of business in

 

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

II, PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed. _

YVAaLMiK 5) Quam vied

First Name Middle Initial Last Name

1eaA-BS Vv De &D

 

 

 

Street Address ll
AQ. cPww0e WY IG 28

 

 

County, City, Staté Zip Code ©?
Dp- 291-2578 UA Lier Dia ul Com
“Telephone Number U1 Address {if available)

Page 3

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 4 of 144 PagelD #: 7

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as thase listed in the
caption. Attach additional pages if needed.

Defendant 1:

Defendant ?:

Defendant 3:

‘\ WraZ-or ' CC swe

 

Lid [eesy fue UnprY Seattle wA 7917

 

Current Job Title (or other identifying information)

 

Current Work Address {or other address where defendant may be served)

 

County, City State Zip Code

 

First Name Last Name

 

Current Job Title {or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Page 4

 
Defendant 4:

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Ill. STATEMENT OF CLAIM

Place(s) of occurrence: V PLO uf 0 nk. Cr My ~ Cy wd & A220 ns

Date(s) of occurrence: GS 2 JO te. yr pelt ,
I

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

Bought wv aNoeke Cot Gack Ase paris Rol ref

Qim Amy ezant “we “altde thi pol use
re Le tn Line. tLe. Ge] oe icbhL He pols
Pouied pul Cb ve. pind mc ab pee. worn”

Wi Pp 2 Lipper Jeg ated. (a Searnin rl fecdo/
pie 4 fled -) PY Linitedlly Sellesot (lod ~ (Ard
Cob gl. Shir — ef whl % or ply alestfy bees
a) bovetact pl e.festie 7; Pus, Nb LL Lhe tet h- PARLE Ae
aktuved when PE: Sel boo pe-n_ E9244 Dok, ~ | od 2 Se
610 NevaUns wy jer LA oby 102 i) tas cle
b\-e@! vol Corre € (pred No pow rL A, dood
Jussi ag an Dolendart, List ney) Lue 6 (Pal Fatt Ne en head.

L3 | nn Ssbo/, Le hh AV DUD A cle Ge oscborD a flotire, yp ywotlery wl dest,

Lapel HO Sabre parts b pod: df] Loivices pecan fed aa
pe Fj b pwcledt 2) ~~ YASY fInid, A, dogo J) Fer
Caze. an AS02356 AD FOGHA I) CAD Pav nf pafiee

 
glthon st this LS ave LY wes ins preted
oll thre \iaat dew Sop whic. We Sith Ted 0
mo A hone ux Cot rrsch f Sly des Leo Zinc 5er4
ft ess “ao Wes _|, (eb iptloss Serb. nipetr belle nots
SeQylik. cont 4 16 Lx Jeo Aewicroal 4 wo
decpoadle CAad. 3 2G CADL ad of spaevoel

 

 

 

 

Ye fy /rurd psd. fh we aes pel ie fp4¢ A fo dl Ain
ve Liou) ace gy Diecos) Ab C. Seburts
fs “fac pags foetol.|

INTYAIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

Ch S w | |, eru per bell (Con tre Dekport t5
thon Petes |, @2 Wi ddg..e Ow dry stein Blt roa!
Vow Gyr ot bd abed v VED PI Re rr Ne pi oat
& Li eiyyt Crna fesmrgrct |

 

 

IV, RELIEF

) briefly what money damages or other relief you want the court to order.

ay) Soe vy YarLcsf rr Re Vie), foe. Lad)
pad Ovo. Aare he wrvy pease AX) ANs

CovQ wo nls pulse ictab)e

 

 

Page 6

 
V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

1-Lb6- 20 () ale 0 Q ory

Dated ~ Plaintiff's Signature,

Vos em Qaw OWL
First Name _ Middle Initial Last Nam
a qT-05 EF Dv GD

 

 

 

 

 

 

Street Address _
(BQ RM Wod ye 4 } LY
County, City State | “+ Zip Code _/ ) ;
UI IFI-DI7E JVALmike Del (mort Com
felephone Number Email Address (if available} wat

Ihave read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:

\ Yes No

lf you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7

 
tLe OA5h qh 20) OG 01806 EMD I JOr Rosumens 2 PST fage 8 Bal PagelD #: LC,
PP Linke Remnem x TG TEES
y Ploarcy ¢ yr |
Wire son Corer
dredge nol and

hee otting a (
fee geting cab c " woXt c- € ot er CALE lwad

wol

ete Was a aii SF WA, med oe, Tle alot oxalic

few ol We8 po obec oF oy Colle

S hess “ 2? -Leop

Sy eh i 1 cy ey PR pea 2h Sear
Sapir Loundts 7, Pou 407 een ees
es; Case pf Hye dees i ale J baree baby ae
De asseascl of a OE 02D bert ie ~~
Ck 0 + Wh 7 his Pfs abe PQOAb Wp

C aw L
Rirol 5 LS YP yt fp fy

On L
ples, Pp obo yrex heh LS wy ee pain

US

 
U S°CEUPY S oeeeg DisV Ruy op Meme yonk

VV Abveas pe RA Ai ;
PLO WN UPL

| | Lot
Lone 2. or, C. ipe-2 Cot A ou

chef enalox

q, Ahi fount G) one. be Sb CES | tw, jules “|
QOAY 4 WY assialsed. 4 Cr. Flaws on bbeves Peas
CNM Clea! a lomstatir WO OQ hoiees Crk Cov fol: 8S ove
Al wipe Lowend Alepeot BZ, poo burl y Cortent so Ploy poe BE

acco pfec wy, Lifes on bis case! LE Ofte. y sul» 9) rallool Nunoxaer

» Comp enol Lots pilol they hoot a ohepas Typ20nt Sodep wed h

handle. covik Sar VE vonel LL ib actopy Doss sogoret ¢

only vio Curl pacl ( S wheck ‘3 oh 2 popsacd 5
Louvswirt « |

 

 

 

Sizly day He Vhe bool honvert fo fle br nother. Les sat
GO Ga nL web Annes ye Conn, a? AO cool. Vole They Sal Co
We peleapeeP all (O gall tiv a apd. Lad on bey ad | byryre-
Aow, {0 boy (ob thigh. = — be Vex Cf DEL a) expoutonced
C miaet clos mnslebi gel loAes davoloped Ayceo J ZL adfl J bborr
patches hosel aol w.0 eepoxeed by 4, Jad 6" one om
Ab ah ols Lyre PUNAABL A] one L bl, sSetsioh CHOAH-S 4h
pst gorhiny fel gf Mt” L TF sopvect Cad) Ho S43 w909~)
omnel ‘pop hack ZO SRL LOS RO bedfop Aye 9
Sent phove. eb torneg A helene Ton 9 nouns

ti A SEL EA! neo wot ole phofe io Panzer: C trey ohent. cof

Shei parcel aot nerd py Ol 04 nue bdo

 

 

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 10 of 144 PagelD #: 13

Duesaa iSO Lowport Peni~ dv (le warlel sl somne,
worth tho Ethie. do(Lam gost they
provlel do ON Prin fo ao ocst- ‘af soll. 4 Ll

a chor mae i jones pirodbuct ret han cand
Mb hodele Dips’

8“) Pops “ool 6) (ew Saok c OePek one bse ) te FO
ier LL Cond Q O wears ‘anil ovortucly Jal SP
disnassid by a blak > alee LK fo. 0 orf

be Dy asudee LAT oAb0) AnpeswlDy Mra ox

Y condsl never Wh & ‘Law Stud jh A Sopbeme

Looped OK Coot L ovat ly A BAM ebe Pures,

(4) f ain thereglor 0s Kina Jor helo 1h ad pest thy
He dele ori solol hs ine by Piaazune O) am

ae el OS 1 8 all A Los:

 

 

 

 

 

U) al athe" We aiisenns
UALMmeiley (owe w C
“Tele 708 29 f ‘25 98, L2Y-d 5” 8S OGD

 

 

Eusih valigki D2 Graal La Pfisehwoeel fey LLyjas

Ol ics = os

 

= a=

 
Civil Court of the City of New York

County of Index Number, Ci” OSS SGP / Dec

HAL W1iK1 Laman

Claimant(s)/Plaintifi(s)/Petitioner(s), NOTICE OF APPEAL

-against-

Avian WD YN! Cane
Wann. Defendant(s\/Respondent(s)

PLEASE TAKE NOTICE that the Appellant, \ YQ |. WV. KA RL AmAw (

hereby appeals to the Appellate Term of the Supreme Court, First/Seeont#Department, from

Strike one

the Order/Judgment by the Hon, — Low Cc oe ue

Swike one

Judge of the Civil/Housing Court of the City of New York, entered in the office of the Clerk of

Strike one

said Court on jar \ 6 2020  __, and from each and every part thereof.
¢ é

Dated: 2: ~2_- 5 —_ ~ 2O- _____ Appellant's Signature: _ Wn Att: f how

Appellant’sName: \) AL miki Pv Aw L
To: | Address: ANI O05 BEDR-GD
“Too, tae ae eT | TWeRiarssvcel. fy 1LD35>

Davis | Go ee Re meine
IQELG! ( Hyfoe Loy. Lene, ___ Appellant's Phone: Wb 2 If “29 KR

CIV-GP-67A (Revised October, 2003) -

 
INSTRUCTIONS FOR SERVICE

A party to the action cannot serve the Notice of Appeal. It must be served by some other
person, 18 years of age or older. [CPLR 2103 (A)}

In the event the other party is represented by an attorney, you are required to have the
Notice of Appeal served upon the attorney. After service has been made, the Affidavit of Service
by Mail (item “A” below) must be completed by the person who served the papers and sworn to
before a Notary Public. .

In the event the other party is not represented by an attorney, you are required to have the

Notice of Appeal served on the other side, After service has been completed, the Affidavit of
Service by Mail (item “B” below) must be completed by the person who served the papers and

swom to before a Notary Public.

AFFIDAVIT OF SERVICE BY MAIL
UPON THE PARTY’S ATTORNEY OR UPON A PARTY

State of new York ) ss.:
County of Queens )

The undersigned being duly sworn , deposes and says:
He or she is not a party to the action, is over 18 years of age and resides at:

( )A. Thaton © - 2.9 __,20 ) 2@ deponent served the within voice of Appeal on
Jea LAV ES » Attorney(s) for VY AZ err * CWT

in this action at havis (WiiC)-F- ] Pre wre 12S4 6 Fe fre 21 FE ey [BLN
the address designated by said attorney(s) for that purpose .

( )B. Thaton 2D /AS 2008 deponent served the within Notice of Appeal upon the

other party
‘in this action at

the address designated by said other party for that purpose by depositing a true copy of
same enclosed in a postpaid properly addressed wrapper, in a post office depository under
the exclusive care and custody of the United States Postal Service within the State of

 

 

 

 

 

 

 

  

New York.
Swom to before me
this 4 day of fe Ettutloag 20 Suey pew
. — g Signature
er WANA DU MVY ma nove,

 

ZLATA AKILOVA

rT, Notary Public, State of New York ~ 7
NOTARY PUBLIC Rea. No. O1AK6355611 Print Name
: ' Qualified in Queens County

Commission Expires 03/44/2024

 

 

 
Case 1:20-cv-01806-AMD-JO Document 2

 

Civil Court of the City of New York

County of Queens
Part __ 10}

 

VALMIKI RAMANI,
Plaintiff(s),
against

AMAZON.COM,
: Defendant(s)

Filed 02/26/20 Page 13 of 144 PagelD #: 16

Index Number _CV-031556-19/QU _
Motion Cal #1 Motion Seq. #___
Papers Submitted to Special Term

on _ November 15, 2019

 

DECISION/ORDER |

Civil Court
of the Eades
City of New York ©")

JAN 16 2020

ENTERED
QUBENS COUNTY

Recitation, as required by CPLR §2219(a), of the papers considered in the review of this
motion by the Patricia Rivers for an order granting stay the sale , destruction or disposition of the
vehicle, the retention of which by a garage keeper is the subject of the proceeding.

Papers
Numbered
Notice of Motion - Affidavits - Exhibits - Service l
Notice of Motion Affirmations- Exhibits - Service 2

The plaintiff pro se herein brings a motion seeking approval of his attempt to serve the

summons and complaint in the underlying action. The Defendant moves to dismiss the complaint,

pursuant’to CPLR 311(2)(1), 3211 (a)(7), 321 1(a)(8), and/or 3211(a). The movant’s affidavitin

suppert states that he was instructed (without providing the identification of the person) that

service of his papers should be done by email and fax; that they do not accept personal service.

The movant alleges that he followed the instruction and his papers were accepted by the same

“firm” that represents the defendants in this law suit. The movant emphasizes that the

defendants’ present counsel are the same as the firm represented them in a law suit circa July 30,

2019. The movant asserts that the law firm’s insistence that the service was defective is because

this law suit’s “demand for compensation damages is larger in this case”. The movant revisited

the series of steps undertaken in the July 30, 2019 law suit, which includes, inter alia, that he

\
filed “a copy of service on July 30, 2019 with Rm. 147". Eventually, an out of court settlement

was accomplished in that matter. The movant emphasizes that a comparison of the affidavit(s) of

service in the J uly law suit with the affidavit of service dated September 26, 2019 in the instant

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 14 of 144 PagelD #: 17

suit demonstrated that there is a dissimilarity. The affidavit of service under index no. CV-
026077/19 dated 7/29/19 states that the summons with endorsed complaint was delivered to
(206) 266-7010 subpoena-civil@ Amazon.com. Whereas, under index no. CV-031556/19, the
affidavit of service states the summons with endorsed complaint was delivered via email to
subpoena-civil @ Amazon.com. In either case, service does not comport with the CPLR.

In opposition to the motion, defendants argue the workings of CPLR 3211, specifically,
inter alia, CPLR 3211 1(a)(8) in concert with CPLR 311(a)(1) which require personal service to
be performed by personal delivery to a corporate officer or relative designate. In Defendant’s
memorandum of law, there is a focus paid upon the Plaintiff's prior action through his process
sever’s delivery of that complaint via fax and email. Yet, the Defendant did settle that action with
the Plainuff, However, now Defendant takes umbrage by remonstrating that the Plaintife s
present service was defective when seemingly the only difference is that Plaintiff did not fax the
summons and complaint. Nonctheléss, the Court finds that the reasoning which allowed a
settlement to occur wilh a similar type of service of process should not vitiate the statute, CPLR
311 (a) and condone as we | as elevate, the service herein to prosecute the instant complaint.
In either case, service was deficient. ;

Accordingly, the Court finds that the Plaintiff failed to demonstrate compliance with
CPLR-31 1(a)(1) and establish personal jurisdiction of the Court. The other arguments of the

Defendant are not reached for consideration. As such, the complaint is dismissed.

ae

“Lhe foregoing constitutes the decision and order of the Court. ees

Dalene [ee | CT CS crncs oe

mae =

HON. LANCE EVANS
Judge, Civil Court

2of2

 
Supreme Court of the State of New Pork

Appellate Germ: Second Department
Request for Appellate Term Action [RATA] (Pursuant to 22 NYCRR 731.2 [a]) - Civil

 

 

Case Title: Set forth the title of the case as it appears on the summons, notice of petition or For Court of Original
order to show cause by which the matter was or is to be commenced, or as amended. Instance

 

VB LL Wiryr L Ve rn Wr A Ww Date Notice of Appeal Fited

~against-

 

A vn ap & he _ C. = yn~ t For Appellate Term

 

 

 

 

 

 

 

 

 

Case Type
(} Small Claims L] Laindiord & Tenant Agu LI] No Fauit
Appeal
Paper Appealed from: PN semen CI Order L] Decision
(Check all that apply)

 

cot: Cy Coa WE comy: CV urow nS

 

Dated: TA wv] (, DOLD Entered: Ou Ops L "Oe 724

 

Judge (name in full): )onco E Ua RS’ Index No.: Cc V- ion KSG SP f OL

 

 

 

Trial: (Circle One) Yes XO No QO e

 

 

Prior Appeals and Related Case Information

Are any appeals arising from the same action or proceeding currently pending in this court? (Circle One) Yes O No
if yes, please specify the Appellate Term Docket Number assigned to each appeal. -

Where appropriate, indicate whether there is related action or proceeding pending in any court of this or any other jurisdiction, and if so, the
status of the case:

 

 

 

 

Original Proceeding
Commenced by:
(Check One)
[] Order to Show Cause L] Notice of Petition AgTSummons and .[] Small Claims L] Other:
and Petition Complaint Complaint Form

Date: Act’ 23 DOF

 

Page 1 of 2

 

 
 

Deseription of Appeal

 

Description: Briefly describe the paper appealed from. If the Pop. is from an order, specify the relief requested and whether the motion was

“ Ve SESL® A ORG 2S, 000 Coorg cenity
/ Wrestion Aw Bs'ecf Jan / b 2428

 

Issues: Specify the issues proposed to be raised on the appeal, the eOSte dl pes or modification oliceey and the specific relief
sought on pes a Ln Suk BG aD Key AS: fad ws an pyre pion dete wren

6 ack 3, eee dE v2 fOL CP pe

J we aden =f Regt 1 0 PAO ol © i ety ole agel. a ten FIPS. Tope Fo. ¢

3 burner Necbd pie SA t2-L. pate. as Woczoud 4 atl Cs S oe a. Yex che cat ren
Party Inforfnation

 

 

Instructions: Fill in the name of each party to the action or proceeding (one naine per line). Indicate the status of the party in the court of
original instance and the status of the party in this court, if applicable. For parties with an attorney, check the “Represented” box; for parties
without an attomey, check the “Pro Se” box. You must provide the address and phone number for all parties. Attach additional parties and
their information on a separate sheet of paper.

Le,

 

 

No. Party Name Original Status Appellate Term Status

 

 

 

 

1 iv) WAY View Ke c \2. aa yer An Plo. LY vfSL. Appellant

 

T] Represented \eTPro Se

 

 

Attorney/Firm Name: (if applicable) ‘Yau RDoewes Nay is ~~ Lf . i ahd — |)? La4. prere.
- ¥ C7 fF '
Address: } YS/ fe f) LO) AL rye ficér

 

 

 

 

 

 

 

 

City) YOU ff. State: MA) Zip Code: A DEY D Telephone:
E-Mail Address 7 Fax Number:
No. Party Name Original Status Appellate Term Status
2 Respondent
[_] Represented [_]Pro Se

 

Attorney/Firm Name: (if applicabie)

 

 

 

 

 

 

 

 

 

Address:
City: State: Zip Code: Telephone:
E-Mail Address: Fax Number:
No. Party Name Original Status Appellate Term Status
3
| Represented [_]Pro Se

 

Attorncy/Firm Name: (if applicable)

 

 

 

Address:
City: State: Zip Code: Telephone:
E-Mail Address: ; Fax Number:

 

 

 

 

 

Page 2 of 2

 

 
 

 

aah. jes

 

 
INDEX NO:

 

AFFIDAVIT OF SERVICE
. OF
NOTICE OF TRANSMITTAL
OF TRANSCRIPT

CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF QUEENS

 

Vv ALM, Pestnow | Plaintiff(s)
-Against-

Ayne Zon ' Crom

Defendant(s)

 

State of New York )
County of (ekice ) gg.

\
M f iL A fat, CYA AOL EL , being duly swom, deposes and says:

Tam over 18 years of’age and not a party to this action. .
At_/7O3 AMUPM.on_ 25 feéfar (37-09 §Y Boje /A

(Time) (Date) (Addresp>)
Batanweood be W436 inthe County of ALOE KE
City of New. York, I served the Notice of Transmittal of Transcript in this matter on: 7
“Tete \lomveS— wuts WRITE \pane *CA\QS7 642 ey JODZ-O
() A. KnoWn to me to be the other party OUe\endax t— _ in this'action at
| 1S 7 OILY W4/eo20_ 21 f~_ , the address designated
by said other party for that phrpose.

( )B. Known to me to be the Attorney(s) for Aunarseyn : CC yy
in this actionat_ }2:S) (47 AU ey LO 2-7 21 FE.
the address designated by said attorney(s) for that purpose by depositing a true copy of
Same enclosed in a postpaid properly addressed wrapper, in a post office depository under
the exclusive care and custody of the United States Postal Service within the State of

New York.

Sworn to before me
this At day of FebPcc OF 20 A ¢/ Salers -
—_ ignature \ |
CC Oe et ila NO Sa tyne nore,
Print name here

Notary Pubi@ ZLATAAKILOYA
ic, Slate 0
Nota No, O1AK6385611
Qualified in Queens cot
Commission Expires 03/1

 

 
Civil Court of the City of New York

 

 

 

County of Index Number
UALMK 2 Am Pet | NOTICE OF SETTLEMENT
Petitioner, OF TRANSCRIPT
-against-
?
dma fr Caer
~ Respondent.

 

To the Appeals Clerk, Civil Court, City of New York, County of avot Of UAOLS |

and to “4h Wa? | yee: Cop Respondent.

 

The above captioned case is to be settled before the Hon. Lane ep Oars
on Oo — Vy 20 OO

I have attached my list of objections/corrections to this Notice.

 

L— The respondent has provided a list of objections/corrections, and that list is attached.”
The respondent has not provided a list of objections/corrections.

(initial the appropriate section above)

Dated: “2-~ 2S $20 eC) rl of bere

Signature

(S9-pS AY ph &

‘VS hakwoe mw4/)7 jeges~v
Address ‘

 

 

CIV-GP-42A-i(Revised 4/04)

FREE CiVIL COURT FORM
No feo may be charged to fill in this form.

Form can be found at: hutpufwewny ycourts.govleourtefayelehvllforms shal

 
Civil Court of the City of New York
County of Index Number ("U) OD 12S CN9/ Dey

——
UALMuK Rvinyei-y |

Ctaimant(s)/Plainti £(s)/Petitioner(s) NOTICE OF TRANSMITTAL
OF TRANSCRIPT

 

-apainst-

Bynes, On * CIM

Defendant(s)/Respondent(s)

 

To: Appeate .
The enclosed transcript is being forwarded to you, the appellee, following Section 1704
of the Civil Court Act together with a copy of the proposéd amendments.

Within fifteen (15) days of service you shail make any proposed amendments or

objections to the transcript and serve them on the appeilant.
The amendments or objections are to be made by referring to the page and line number in

the transcript and specifying the change. For example, if the transcript says that the time that an

incident occurred was 3:30 P.M. when the testimony given at the trial was 2:30 P.M., label a

piece of paper Proposed Amendments and Objections, list the page, the line number and the

proposed amendment.

You must retum a copy of the proposed amendments to the appellant. Be sure to serve

the proposed amendments on the appellant within fifteen (15) days,

After the appellant receives the transcript he/she will set a date for settlement, At that

time the transcript and the proposed amendments will be submitted to the judge. You need not

appear in Court on that day.
Any further proceedings will take place in the Appellate Term ) Supreme Court,

Dated: “2~ 25 “-20 Signature: ( Angler i

Appellant

CIV-GP-42i (Revised 4/04) Address; 4 27-OS 85° OP EN
“2 Rie tisceal be )1b.25~—

FREE ClViL. COURT FORM
No fee may be charged to fill in this form.
Form can be found at; http; Mi ov) ivi A , :

 
Wecisisn "o fol ep i Kou AM PR cee PR
OND WEA LE amor ee
ceyerrsy VOL edlow umd y
peer Dghendei __ CV-0B 1B & 19/ oy
LM |b te a Vhans chy ). Dak poke Pawo pt
ploustif” henhy Stash Lot Se. akge Vee r8. 109% fades

 

() dod delendorh alfrrren silo e A vito <}o AS passes
ad the clatmeof beds 1G mn pet orc Wed
root Palope lh Se pued AS Deg cpl. [ea Xe oH
Aveo ‘Z) TD chef ardent, [ Avoy sos wo “Canr-
wd +

 

(2 Av Joly Po 14 7 WAs ASS rel hed by ex ANZ? OF> * CBA.
lelaper Prtsore | 4. Loot a Sepamons — coop bat
A) sd. voted de a LIL LA Crate l.
awd FAS no (wes werk pared fhmeze + Low
prasrifaccy OW alles th Monks ool Ve ws Sack
wettewW wo V4 ov yo Lid nel AR WIn Sr » . Cor
had theipe zeltyiney Davis wr puck FPamelo ofjas1 6%
pun Uf JOO 2D ppd met fpleoed yor eg on off.
Cup cS. of te mews in
(A Spevy ans La ston “p g! Led any thot

On wrywy1 5 ul eonaplout eg RANEY Arnaczen: Cor

O

 

 

 
fon #B AS 000 AO _ «pase 4 having, Le (SN 1 AG
books bawmesye.. ip. & ole tape cp lice flsclac
thoy Sold pros Deiz fake hoy > opolet
fe amuse fo cane Aisws sof elapsed Theor
He. chen dest te0 pus poxpeal, Se Ry Re A a,
Ze “Ti, ol. (5k clespas x é Lorapinscel by fbevtor
Seve eb (Aer eae: LSP RL. Se dla. Tb, CLS E*
Howe Veg. this Case {6 é) pouch pAabpLe (4 bert
fre Compop sal lor + 42 on Lpece_tehif shold
ay 15). A f21-6. > hg Skin or at soto peti
A See, pw a tleked ou haba, OL AL Le not BP, M2 flaaf
Jo C 9297 pope5akfom '] ; | |
“Jusvico. Evans PU CLL Lashes Sle. orpg face
Dust eg of | tees toga L55 kt €. wif) Aur4 oe7
anol ies “if fru Lod, duel y. of. aOvz- (heds THe. C. el?
Ly Lavoe fe 4) Yaa peaves , wcl dlee Laper Yee)
[@eL Asm sstol he caus. hie ao foes wit Yaa poem
neste Aso clo ond ogil WI) ri paapenb Sepeod -Sixky
d “Ye bela. dle del londardt acknoudege SEnuic€ oot edd) sof
eloum bw Huis” free He propetoee) yodal “) Yl CELE
LS yn pred AD cloves s ghectes oy Jas Sick
“ous cbae net poke. A 4) this. nh wccourst /

(2

 

 

 

 

 
7ffe obo) epolom D-H Lapses) CaxrrPperey wy vy Pho. Cooplef
must be. co Lhy wre A g00 Riche on 3 backs
2 16 BUC NO}. fp 2bsie pail Pode a1 $2 thory~*

“Nis Hi p ped mice, parol 9 hood |

4 fuse Jy BLL nd Fes 32 CARS?

chiang Lol [he7 p- cAy piew-devgp 09-207
Cyan ald pess Sut, a preity thing
Of than heap. Ps Sl et. pr. got oh

Thane Aes ponsebsliby werd WY ee Fy 4ER
V Evans “a Abe roy th ove by At 3 eA1SS1919

my CA$L *

(8) These Jone Tappeo Ad HO) Saphone Coupt
\ fe STO ‘eur oth 5 42 S00. phi3
Ae wh ot, ne is, bok A ows AL st07 p68 des

ZL hance Ho paler o) PRbCbSS SLQUCL Ihe adlayg?
Tuan Eve bef fe XV wT LLY Crrn puns Lvctenrte
‘qo wade OH Wisk Aecibhtnr~ etre Nicking Loh rol
tHe CPLR WA cfevowl Jj NoePencer.
A Joh. bok » (Came Y
v aiwnd.. be re

 

om ce eee

 
Supreme Court of the State of New Pork

Appellate Germ: Second Department
Request for Appellate Term Action [RATA] (Pursuant to 22 NYCRR 731.2 [a}) - Civil

 

Case Titic: Set forth the title of the case as it appears on the summons, notice of petition or For Court of Original
order fo show cause by which the matter was or is to be commenced, or as amended, Instance

 

V , LL yet Wx (. Ve ‘a wn 4 WY | Date Notice of Appeal Filed

-against-

 

\ ~~ . = wt For Appellate.Term
VAN AP aw ~ Cow

 

 

 

 

 

 

 

 

 

 

Case Type
C] Smait Claims C] Landlord & Tenant Aer CO] No Fault
Appeal
Paper Appealed from: PRsement {_] Order {] Decision
(Check all that apply)

 

 

 

 

 

 

cots Ct Com OE comy: CY wre nS

dated: Jan [42 S20 Entered Gy ons Coo me

Judge (name in full): dion wOO KE UAKRS Index No.: C - OBES? Pl Ott
| Trial: (Circle One) ves BO) No en

 

 

Prior Appeals and Related Case Information

Are any appeals arising from the same action or proceeding eurrently pending in this court? (Circle One} Yes O NO
If yes, please specify the Appellate Term Docket Number assigned to each appeal. ~

Where appropriate, indicate whether there is related action or proceeding pending in any court of this or any other jurisdiction. and if so, the
status of the case:

lu “Os

 

 

 

Original Proceeding

 

Commenced by:
(Check One} .
[] Order to Show Cause L] Notice of Petition Agi Summons and =] Small Claims C] Other:

oA and Petition Complaint Complaint Form
Date. OC (23 DEG

 

Page | of 2

 

 
 

Description of Appeal

 

Description: Briefly describe the paper appcaled from, If the ap cal is from an order, specify the relief requested and whether the motion was

ranted ordenicd. ?{ , ‘on / .¢ y ~ : a4

g Ye SESLOK / OfUCVeE pe- fh 2S, ove Corag Cot isd
€ , aj, & 3 f ees en wa OTN ty

/ Wrorkt ets, oA Soya by 5 € C _) eer { é 2 j 20)

Issues: Specify the issues proposed to be raised on the appeal, the grounds e reversal, or modification to ye advanced and the specific relief
sought on appeal. "Pw yu by ZC [bes rsSaa Cab Jaye PAWS 2.00 AE Re rene
vines pr ys pt be gl et (Ores & yo fe PDE Cypress pO WML OVA te (fo. ~
fh ef bs peof acto Ae pre & Sere€ SBOE? SO UY Eepegl Loney fo Fit d-bed Cpa Mr
5 bap sper Je cr piece; i LLR GRILL fi ade. CS Jlewgeuns by py Pode Ai CO 5 OP 2. Fre cof inte \
, Party Inforfnation

 

 

 

Instructions: Fill in the name of each party to the action or proceeding (one name per line). Indicate the status of the party in the court of
original instance and the status of the party in this court, if applicable. For parties with an attomey, check the “Represented” box; for parties
without an attorney, check the “Pro Se” box. You must provide the address and phone number for all parties. Attach additional parties and
their information on a separate sheet of paper.

 

 

No. Party Name Original Status Appellate Term Status
VU \A Lyne be c \2. yen Ar we Plen aye JA. Appellant
[_] Represented Nef P ra Se
Attorney/Firm Name: (ifapplicable) “You, Porwos Vawis ~ WRIGhd ~WQar per.
Address: |S f Ae FQ Avedices tS ms
o

7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Citys yD UY f. State: JL4.-~ ) Zip Code: / DEY ZO Telephone:
E-Mail Address, 7 Fax Number:
No. Party Name Original Status Appellate Term Status
Respondent
{ | Represented [ ]Pro Se

 

Attorney/Firm Name: (if applicable)

 

 

 

 

 

 

 

 

 

Address:
City: State: Zip Code: Telephone:
E-Mail Address: Fax Number:
No. Party Name Original Status Appellate Term Status
3
[ ] Represented [| Pro Se

 

Attorney/Firm Name: (if applicable)

 

 

 

 

Address:
City: State: Zip Code; Telephone;
E-Mail Address: Fax Number;

 

 

 

Page 2 of 2

 
: 29
* Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 26 of 144 PagelD #

Civil Court of the City of New York . a
Index Number. Cv ~ C2 [S' SS bs I)

County of — oe
we ee Part a
SAL mt RL AWM nus
Claimant(s)/Plaintifi(s)/Petitioner(s), NOTICE OF APPEAL
~against-
\e Ao 20 Ww ' COWL

cee te Defendant(s/Respondent(s)__
PLEASE TAKE NOTICE that the Appellant, AW L wiki me vive bay

hereby appeals to the Appellate Term of the Supreme Court, Fits SceomteBeparement from

- Stoke one
the Order/Judgment by the Hon, bas Wu CO KU aAWS
Strike one
Judge of the Civil/Housing Court of the City of New York, entered in the office of the Clerk of
Suike one
said Court on De. NV)b Dodo ....... nd from each and every part thereof.

Dated: ; ‘2 “Lo (20. ; Appellant's Signature: Amal a & Cygne

. (
Appellant's Name: VAL MIKA _ yA Avs {
To: Address; _ | LAL - _O8 5 Ss G de. GD

“Vou Lore eo Ow i on
oe Ae Le Ruse AMY ’ ) i
Daaie Wu {2 the dee | Ramone 18 + 4) .

jac. Gayle box lepre. Appellant's Phone: 78 — DIL 29 a

CIV-GP-67A (Revised October, 2003)

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 27 of 144 PagelD #: 30

Civil Court of the City of New York

 

 

 

County of Index Number
() bY L vi ( i. Fv Piet § NOTICE OF SETTLEMENT
Petitioner, OF TRANSCRIPT
~against-
; -
Kh SURe gr Coes
. Respondent. s

 

,
To the Appeals Clerk, Civil Court, City of New York, County of C00 aS,

 

and to — hw A? ost - Cayr--- Respondent.
2
The above captioned case is to be settled before the Hon, ae LC o i AAS

on 3 mT] 20 Oe

 

 

 

I have attached my list of objections/corrections to this Notice.
L- "_ The respondent has provided a list of objections/corrections, and that list is attached, *
The respondent has not provided a list of objections/corrections.

(Initial the appropriate section above)

 

Dated: “2. ~ 29 720 (. Jolorne C. “J 3 Ong

Signature

[39 DS AL pg by
§3 ha: choot Wed Joye oo

 

_ Address
CIV-GP-42A-i(Revised 4/04)
FREE CIVIL COURT FORM
No fee may be charged to fill in this form.
Form can be found et: diwawrw nyco ov/courts/nyc/oivil/fo

 
Civil Court of the City of New York
County of

ISS E> VR Ge)

 

Index Number

 

 

wf : ~ f
VA Lak Rv

Claimant(s)/Plainti fi{s)/Petitioner(s)
-against-

A Wihee Pa Ciin ! C fae .

Defendant(s)/Respondent(s)

NOTICE OF TRANSMITTAL
OF TRANSCRIPT

 

To: Pi) @als

The enclosed transcript is being forwarded to you, the appellee, following Section 1704
of the Civil Court Act together with a copy of the proposed amendments.

Within fifieen (15) days of service you shall make any proposed amendments or
objections to the transcript and serve them on the appellant.

The amendments or objections are to be made by referring to the page and line number in
the transcript and specifying the change, For example, if the transcript says that the time that an
incident occurred was 3:30 P.M. when the testimony given at the trial was 2:30 P.M., label a
piece of paper Proposed Amendments and Objections, list the page, the line number and the
proposed amendment.

You must return a copy of the proposed amendments to the appellant, Be sure to serve
the proposed amendments on the appellant within fifteen (15) days.

After the appellant receives the transcript he/she will set a date for settlement. At that
lime the transcript and the proposed amendments will be submitted to the judge. You need not

appear in Court on that day.

Any further proceedings will take place in the Appellate Term of \ Supreme Court.

 

Dated: 2 ~ 25-20 Signature:_{ Z odmyt at A. Ov
Appellant
CIV-GP-42-i (Revised 4/04) Address; 6 27-023 85° ON G dD

 

1? Qua duscral My ) 1b 25-~

FREE C)VIL COURT FORM

No fee may be charged to fill in this form.
Form can be found at: ftp: dw nycourts, .£ov/courts/nye/civil/forms.shiml, :

 
NY CCISLOX / oD Role p>. WW 0 lu ef. haps GR up

COU Whe eibey (tay rb
ey 9 aeare (7)

Ce. APRS YE

 

- snobew Wm bo ~
(Be Seales CV OSE GI By
wiK [pbb 4 CA Vaansesip. Z Lia bpd Rc WIG fet
plaustf hj crchg Suk a2 Fe ye Lp Dee SLi, fades ‘

 

() She de endow alone 4, lef A_Wreog lo =f. ol LS pI OS
4 thee x |e tin oof He ot { { A i: é. wel Akt (ID
oot pe af e Bs) Se ee A AS pe L C. ple Va Ge
A Nocas. 2) “ Fe che d a ral Lew / Eases ‘Con, -

 

[2) Ay yi Ly Del. TL “WAg A SSA LI ed bye ya bX pct 3% 27 Cur,
i é
ole (ope “hd De NIOVé.. Ave L cof, 4. St 4 RI OYIS 7 _ C97 f Latiof

| j4 "
a4) p82) J wr tecdh b OCF thine Bed * OGY). UL A © pynent L
amc FY. > Hu wes al o hired) fb tne Fu * Lav

j Cf

paaiv®l acs ce Alec th only leks poe Gd Sacd-
wiedte ra ) “4 A vy te Lod amar hr WI “Gur > Cars.
eu thei. cectisne dkvis Al picky > "Y Peamelt of 251 E7
phe LEY JOO 20 fle. pL; thle one Ai 4 oped yer, AF cnt? wp.
Court setd demons
(as pty al ANS latter“) Aled onvthed

a

Say wwts ead Cone pe pad fe @insy wre. ove? Capt

©

 
frou & AS. doa GOR ie poset wv] b Vee VIG, 2M (SVL SVK .
h ocley ole. 09 od iv. p % ole. op cf lice fe soley cy 7

dey Sal ol pyre D) ein ae Asp. ptr Le fh ola- a-y\
on fle: COE ars wiss. spf eLaspros Tha bo)
tle « te ws pclegh M02 pr rey} pots pt aly Soave cept L .
zZ (ae “) icol's gO obespit e -enepinnsly boy {bei
Segue 6 4 jad 6-2 woe LOEPYE. FJ de By CRS +
So WEY e €. th (s Case Lé A. jet og paw pe {te Gp bee at
Je C cup 5a) ter 40 1 face whi s£il¢
eu Is). as rée. Vb bey Ski ora op ty olen poy thsn
9 See. pr or Ife Lod. ow abate xy CsA L baer t ead rp heal
TO C570 2persact bs 2 |
(4 ) Justice & Vers Pees Lv fC3 Sle. (zo boa pg tice,
: Jigs he fey of \ [tej Jeogal 155 bt €. wif) Et le 3 cay
ovel fies “fu Lool 4 hal Dd cla 2227, Phects PFE L: lel?

 

 

 

 

 

Ly palebe Le 4 VY AK b. CALC? yecl declenss Ite

sy

vol n9 Wal tledendoi Ld) nad panpens a sopad Sick,

J
day. be) He iW i endavt ac Kenvowleg at Segue’ ca set /saf
c Lave wt Hats” fimt fle pisyueloer) etal “) Lbs Re
LS in pot Aref AL pl pyre AJC 1S gpccfex. ey Sasa be t

oe
Livers ob or nel phe. Ll 4 ) His prt acoourt

(z. )

 

 

 

 
ic oe,).0 peleo, 9 Yee Latgedy C C2? forty wu oy Mer loropled
Muat he Ce (Lo 600d A wha g Doo. fi. C4 Jf, backs
) ie Ceere: {Le p= ff C-fUS get pools Pak pe A S.€ bh bry °

VD 19 Jt p fee Zane epee 6 FA. 0. of f

| S36 «|

fi Aone bet JQ OL 2-8 of 2 LD? 2. pO? _ 7a -é# ey

F*

chins Lol fA ey a FF ca JM nd, Lg OR? oo
oo. ep C~ Crt ee AS 5 J. wet, Ae ff Ce a fc Ld. fi; fi Ls Qo
fot Ce Lh) jog Ps S03. , “re got aud”
gt thes; fe x fb he SZ bi; Ly My p CEL A Pee oy L6G

r

f- C7 €4 FLAS a 42. rcbhirnr., cy +f, Ofrnt Ly ACS be ASS byte
~ v 7 /
Wy Case: .

/

 

(5) A hene-Jone yb appecl d 10) ope ve_Coupt
2\ { SS et ef pow Url fe see phis
7 A
Tee whch LY 15 rout Aves fA Cue A ny 7
Chess. He raadea o) PiQil 25s Se auice. fe be aloyyp:
_ Vat iie € Event wed Med LY Carry feel eff Crrclerd¢
oe BINE & wise Ae Cth to bad x hicling oh pot
7 le C PER WA ol U 0 in( “ A \ CL. (Perce, Z
| | N ttodh perk x. Keema J CI
_ _ uv ALL weal fan,

or

— - aw

 
Index Number _CV-031556-19/O0U

 

Civil Court of the City of New York Motion Cal #1__ Motion Seq. # __
County of Queens Papers Submitted to Special Term
Part 101 on _ November 15, 2019

 

VALMIKI RAMANI,

Plaintiffs), DECISION/ORDER |

a Civil Court
against of the ae
City of New York °~

Defendant(s) JAN 16 2020
ENTERED

QUPENS COUNTY

Recitation, as required by CPLR §2219(a), of the papers considered in the review of this
motion by the Patricia Rivers for an order granting stay the sale , destruction or disposition of the
vehicle, the retention of which by a garage keeper is the subject of the proceeding,

AMAZON.COM,

 

Papers
Numbered
Notice of Motion - Affidavits - Exhibits - Service I

Notice of Motion Affirmations- Exhibits - Service 2

The plaiedft ren ve heroin brings a motion seeking approval of his attempt to serve the
summons and complaint in the underlying action, The Defendant moves to dismiss the coraplaint,
pursnandia CPLR 31TG21), 2211 (a7), 3211 (a)(8), and/or 321 1 (a). The movant’s affidavit in
suppart states that he was instructed (without providing the identification of the person) that.
service of his papers should be done by email and fax; that they do not accept personal service,
The movant alleres that he followed the instruction and his papers were accepted by the same
“firm” that represents the defendants in this law suit. The movant emphasizes that the
defendants’ present counsel are the same as the firm represented them in a law suit circa July 30,
201%, Phe movant asserts that the law firm’s insistence that the service was defective is because
this bivy suits © Gemioaa core. sipensation damages is larger in this case”. The movant revisited
the series Of steps undertaken tn the July 30, 2019 Jaw suit, which includes, inter alia, that he
filed “a copy of service on July 30, 2019 with Rm. 147", Eventually, an out of court settlement
was accomplished in that matter. Phe movant emphasizes that a comparison of the affidavit(s} of

service in the July Jaw suit with the affidavit of service dated September 26, 2019 in the instant

lof

 
suit demonstrated that there is a dissimilarity. The affidavit of service under index no. CV~
026077/19 dated 7/29/19 states that the summons with endorsed complaint was delivered to
(206} 266-7010 subpocna-civil@ Amazon.com. Whereas, under index no. CV- 031556/19; the
affidavit of service states the summons with endorsed complaint was delivered via email 10,
subpoena-civil @ Amazon.com, In either case, service does not comport with the CPLR. |

in opposition to the motion, defendants argue the workings of CPLR 3211, specifically,
inter alia, CPLR 32111(2)(8) in concert with CPLR 311(a)(1) which require personal service to ,
be performed by personal delivery to a corporate officer or relative designate. In Defendant’s .
memorandum of taw, there is a focus patd upon the Plaintiff's prior action through his process
sever’s delivery of that comp! aint via fax and email. Yet, the Defendant did settle that action with’
the Plaintiff. However, now Defendant takes umbrage by remonstrating that the Plaintifes_
present service was defective when seemingly the only difference is that Plaintiff did not fax the
summons and camplant Nonetheldss, the Court finds that the reasoning which allowed.a. -
scltlerent to occur with a sin-ilar type of service of process should not vitiate the statute, CPLR
311 @)G) and condone us weil as clevate, the service herein to prosecute the instant complaint.
Tn cither case, service was de licient. .

Accordingly, the Court finds that the Plaintiff failed to demonstrate compliance with
CPLR 31 [faj(1) sind establish personal jurisdiction of the Court. The other arguments of the

Defendant are not reached [or consideration. As such, the complaint is dismissed.

ae

"red

“he foregoing constianes the decision and order of the Court.

oe

Date: —— {22 1 fig Fernes a

HON. LANCE EVANS
Judge, Civil Court

2o0f2

 
 

 
INSTRUCTIONS FOR SERVICE

A party to the action cannot serve the Notice of Appeal. It must be served by some other
person, 18 years of age or older. [CPLR 2103 (A) ~

In the event the other party is represented by an attorney, you are required to have the
Notice of Appeal served upon the attorney. After service has been made, the Affidavit of Service
by Mail (item “A” below) must be completed by the person who served the papers and sworn to
before a Notary Public.

In the event the other party is not represented by an attorney, you are required to have the .
Notice of Appeal served on the other side. After service has been completed, the Affidavit of -
Service by Mail (item “B” below) must be completed by the person who served the papers and

Swom to before a Notary Public.

AFFIDAVIT OF SERVICE BY MAIL
UPON THE PARTY’S ATTORNEY OR UPON A PARTY

State of new York ) ss.
County of Queens )

The undersigned being duly swom » deposes and says:
He or she is not a party to the action, is over 18 years of age and resides at:

( JA, That on “2 — 2.8 __, 20 ) 7 deponent served the within Notice of Appeal on
te leaves » Attomey(s) for ¢-byn ae er IC oq .
2Y “et. ihe Joon

       

in this action at ‘pavis_{ufeic LL Pee re 428%) hfe fre
the address designated by said attorney(s) for that purpose

 

( )B. Thaton 2/45 » 20 Ra deponent served the within Notice of Appeal upon the

other party
ee

‘in this action at
the address designated by said other party for that purpose by depositing a true copy of
same enclosed in a postpaid properly addressed wrapper, in a post office depository under
the exclusive care and custody of the United States Postal Service within the State of

New York,

 

 

 

Swom to before me

this #2 day of Fe Etuur.org RO Siler ee

 

g Signature

 

  

aa ZLATA AKILOVA ie lt ANE Su lo, MG NOVA,
Public, State of New York 7
NOTARY PUBLIC NOt ee O1AK636561 1 Print Name! .
Qualified in Queens County
Commission Expires 03/12/2024

 

 
‘INDEX NO:

 

 

 

AFFIDAVIT OF SERVICE
OF
NOTICE OF TRANSMITTAL
OF TRANSCRIPT

CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF QUEENS

ULI. Restnow\ piaintens

-Against-
\ WA Soy | Cre
“ Defendant(s)

State of New York )
County of Giceeser’ ) gg:
[4 LAw4 fi ley Lepicy A. , being duly sworn, deposes and says:

 

Jam over 18 years ofa € and not a party to this action. . . ;
At 03 AM. O.M on 2S feb fn £8 a O97 &§ “oY Beye (4

(Time) A (Date) (Address) ;
Ete ct PLEO, AL HY3S in the County of MA ECE MS

City of New York, I served the Notice of Transmittal of Transcript in this matter on: .
u EY Pemeine 957 6lhybe yey rye

 

 

 

TTL Neo ace S—Apots WRI |
(A. KnoWwn to me to be the other paity Cy ele nat ove, Ve in this action at
| 2S} GAL yw Yect/oen2 ON <2 f%—_, the address designated

by said other party for that parpose.

( ) B. Known to me to be the Attomey(s) for Wyner mon Ce
inthis action at |2St Odd A py (O02) Dy FE
the address designated by said attorney(s) for fhat purpose by depositing a true copy of
same enclosed in a postpaid properly addressed wrapper, in a post office depository under
the exclusive care and custody of the United States Postal Service within the State of

New York,

Swom to before me _

this 2S” day of Peevey o9 30 Sake
a ipnatate bey

0 See ana oultyma note,
Print name here

f
“ me ZLATA AKILOVA ¥
Notary Public, State of New 0
Reg. No. O1AK635561
Qualified in Queens cou ot
Commission Expires o3/4

 

 
CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF G4 ven : PARTOY, Index No..C14-0 31S 567) of Gu

 

 

 

[atm UEC froin” Petitioner, AFFIDAVIT OF SERVICE
BY MAIL
-against-
Alin aon ; Cow
| Respondent.

STATE OF NEW YORK,
COUNTY OF — CY ees

p OMAN AK 6 rohan being duly swom,

 

deposes and says:

Iam over 18 years of age and not a party to this action, On Ocbrbep AS, O19
isevea QQ 97. Reaves

upon Sus 0 Gy r_/ he (L LMF the () oy? Ol iin this
proceeding, by mailing a te copy of the attached papers, enclosed and properly sealed in a
postpaid envelope, which I deposited in an official depository under the exclusive care and

custody of the United States Postal Services within the State of New York addressed to

i251 fives o¢ fhe Anuar the A TVD py ev)

New Yokk, Ny¥ 10020 -
at: |
tm
Signature: VY WO rodorun
Sworn to before me this — 3 day of. Cetobee, 20 J g
eo tee tebe ey ” |

 

  

 

EE epee
- atyPu ee ZLATA AKILOVA
Notary Public or Court Employee Notary Public, State of New York
Reg. No. O1AK6355611
Qualified in Queens County

Commission Expires 03/13/2024

CIV-GP-11 (March 2001)

 
CIVIL COURT OF THE CITY OF NEW YORK
OUNTY OF *
C F (id fir)

Plaintiff, NOTICE OF MOTION

~against- Index No.

Defendant.

; _ ' bo:
PLEASE TAKE NOTICE that upon the annexed affidavit of VU olwm ‘ Le a Qeanad i

sworn to on the 23 day of () a 20 , and the exhibits annexed thereto, and

upon all the prior pleadings and proceedings had herein, t PLAINTIFE)EFENDANT will
E ONE)

ee \ (CIBELL _ i.
move this Court located at 3 q -7 7 a Def “ bel, Lo i f DOr pr bit dae A“ “ly Lb f Bf
New York, Part Fh oy Room 67 ,on the }Ly- , day of } / |

20 7 ,at F / ? OD o'clock, or as soon thereafter as can be heard for an Order:

i\ S ok oye Ce oh eC. Ab Wro CoN PAPERS RECEIVED
SPECIAL TERM /

CT 23 2019
CIVIL COURT-QUEENS

and for such other and further relief as this Court deems just and proper,

PLEASE TAKE FURTHER NOTICE that (check the applicable box below):

these papers have been served on you at least eight days before the motion is scheduled to
be heard. You must serve your answering papers, if any, at least two days before such time.
At least three days prior to the time at which the motion is noticed to be heard you may
serve upon the moving party a notice of cross-motion demanding relief.

these papers have been served on you at least sixteen days before the motion is scheduied to
be heard. You must serve your answering papers and any notice of cross-motion with
supporting papers, if any, at least seven days before such time, Reply or responding affidavits
Shall be served at least one day before such time.

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 39 of 144 PagelD #: 42

Dated: ON 2 20/ 7 From: U oLm VK } amcen)

CIV-GP-324-)

BIB” DPI- LPS ES

wal: 7a. 411 f/C ¢ dja
BAG mact. Coren:

FREE CIVIL COURT FORM
. No fea may be charged to fill in (his form.
Form can be found at: hupv/Avww.nycourts.2ov/cours/nye/civil/fornis.shimt.

 
CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF : PART

UVALM Lie Riemer | *
. Plaintiff, AFFIDAVIT IN SUPPORT
-against- Index No. CV — O02/ ST 6- 2)

Aw» 23 Sry 4 Cert
Defendant, |

 

STATE OF NEW YORK

COUNTY ae re oft §

Vat mic Daman’ Pla f wtf being duly sworn, hereby deposes and says;

ok sa motion 1s 78 2)hgim pth.2
Aart Sho pe Tel, WV mace ae
ND te See a4 aunsT olorjoaland? api
www <tld how $ stipes. fla pe
Uy oe 2 rat gaet J Os OO Leg" Fe
oe, cept Jopessrtel. SOALVICL. © ph A707
Ay yt ent b wads CLO [Vert bef Fla. user
DwWwy  Luoon tat LL fe Pie sees/f
t. elefisneton tt Flat £3 See Ve Lee APC
CfAtmLAY NPCS ty TE aA ftiyrz
pot Sébjp-ved ples ffe hey woh PF woe
Sekverd SO! Shaina Loney at fo ipa
ape SALT Zn J24 BO 2679 Lice Ce tet
AZ, O22 a eLa rape a oe
pLocBs Pod aS 0 tra tate Le Tivo bawwtlP
és 36. 2eZF? LL & ora G Aefoinolaad ” ‘ea foligs

Gijegt Lok Lace tef 2. fle Vola, nod Bot LE} fen seDien

K272A fe/) LZ hile fer phe his CEL
i es A

 
thev et po ppl fA CO 2a SOV< ;
okt Sh glatmrepe FR ne Day speak
pool clang be EGIL SP SUE

Se _ AA_ theees hate pO
pate fies Pur- 5,4 Lb, AoE HL, os ead

CW yp tp 44 So LA o ple fe ETI

pir . PL att co Bnke Ke skporo Phe fiewt
Doon ges th tore peopsem POP

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WHEREFORE, THE UNDERSIGNED RESPECTFULLY REQUESTS THE WITHIN

MOTION BE GRANTED, LA WAVins pyVrtows

4 . 4
Signature Var vn 1 koe {Qa Upva-fY
|

6 before me this May of October 20 Td q
e aS” ., ae %, 5

£
Notary Public/Court Employee

CIV-GP-12t-i

 

FREE CIVIL COURT FORM
No fee may be charged to fi! in this form.

Form can be found at: fay. nvcouns. 2ov/courts‘nve/civilfforms htm}.

   

 
\ . a We
purd Copy wp wy Pye fle

ere oF Duneeng Trpeeii6Y- 02/536 -L O/ us,
VOL Weeki! ot
Poa Lhe - ,
S tL WW) OY 20x
Dagon Aoi’

 

T Val msi Led rtp. plasty) les PAS
metim Or. A tobi of. use Lael Appos
Ow [O-22—/7 , whan © ole ferretee 7s
» L722 Yorn Phat pia pek Sete of Sunrurens
ane Caonplasod jhe Lv tmach ote thus lase-

 

2) Sess te panne) Fb 229 Laut

N Joo) he dateSbod Beil Orr accdingy

14 pea lepl te LAE. Lrelew fA atert-a lox
aWeen bess assaolted 49-2
Medwery petina-flie, difeKolan’ Pld ;
plamald). om UD Leb hy hef- they db b nal pecowe
eps ood pe CLSE so pic. covet ib ee) dad, bts
aw Alice sepepnfels fb Aa Aecesv ry
i) eV Lp ped popes orl Phot deel
Vb ood) be Fv ell “fo a0b- 266-2016
Avel 21k A ‘Sad Dolev a Curl pg
Pyrnks.o0 Cnr" KS. Y), pro rols LEP Lb LOpyneeslers,

pd Ss anol Ay Lol a wai A) Sepiycd
ov? Seb 2Y”9 we P)V fur LA? ae 8 i pe)

prvi with attached:
a

 
  

 

 
»)

Ie chdJondla td Loe sondoet has, thn ly. EBRoupell
ashtedny ay A Guled £ pes pense A YU)

S trp 5 call (Sopp dao, ete 204 “
ee ee " pun FF
B19 Cop lia A Svipubayio. gf Se PtLe Fare

onl § ‘Fepoke Bor A. is con fyrubntd pop Z

Peck més : Wy ‘AA Ke bafforrdlond peplueef
ovad pink pe Lt Lb inti SOG LCA tA
wet gto re pirafe shy 2y Fi pfs yd
Emoct pm Sik B Bo2org “2 Dhis vebsjuy
Hatt this Snethy de SENG Ek LS te) voli
Ws he yo phacoss sonvice. 1 alad. indo

 

» Ate, Jone’ Soe te Aord on! attorre4

Teng A Ros’ 0 of Ts. Filem _ Nevis veylT

TT fomes ne LLP fo clams HBadl- He

pls Ccesp of Sebeyicr  CRS£ Lil os. (Y-DUSSL= Sev
twas poids the pRrpete 26 DW wo chrnre

pe fo DAyTHb, ap ad Si) pened. Low Sa1ty

O72 ad, 0 2019 _Spplek 0 0.26 072-14/ PU;

is Inghlg ipnadtloncd Ca ot ors at hing
hoot” A. Chin AV oY fhe 70 Yo géT oy

es

 

 
A on mach fate ep Dare surh we Apch.
Yar a Lot 7} Oar tho ss by Lr
peasctsp) PYF ps pel Lv clhu4S

putes df * Laren it dyrt by He Leabesr) a)
: gud A fis piiduct Srl. by Aacrccren’ La

‘be 105; 6 po wplve Cy 2g ti WO phigsteter
4h) plasrilyyf gincpet, phijs LiLo ood Aad
Avpyr0 JNLo 17 wha: LS aw phactrerg, pAgsir
bY C4 Linn bye Ldoc Pond wr Leschiry
sVo4d et Lo Lundié Uravowsity - Dhue clair

1S OY walle er parlesrsondsy LDep.os pan Ole

ove) We theoavk vite 2 Ab Affe. 4 they

hep pesenA s/Lovtel be Ashawwd
4 'Py osv2 jal bs LF Lp £06 Ing Such
A ecu trag pladonse 7

S 7 f—-- .
5 L L hpepedy os fc tie Cont fo peg wr SOQUEL
Aah ecl 29 clog g) 7 2O/D_ 2 besiy eal sel
and Pha podsid, Sought ty Pe,

be gprat eal

 

 

 
 

Copy ate ddendent? UabmuLe P grand

 

 

 

 

 

 

 

arts prov Chacarke |

TU i
| ee Ww) fleaves VAL rede pa PALL
Vows wr [gh VYhtimarelP Lx ~ 24L—- 29 28,
124/ re < Me) Prorvebse A PtLrukes + D $e
Wy + +ey 10220 S$ meal » Cor

—_—ae
femal: lpapheavesD?
) wi Core:

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 46 of 144 PagelD #: 49

tc xX HOUBTTS

 
 

 

Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 47 of 144 PagelD #: 50

 

 

Civil Court of the City of New York Index Number_ CV- 03156 ¢- /9/av
County of Queens Motion Cal. # Motion Seq. #
Part
DECISION/ORDER

 

Recitation, as required by CPLR §2219 (a), of the papers

~ ey Vj [py } ki R, Man | considered in the review of this Motion:

 

 

 

Papers Numbered
Claimant(s)/Plaintiff(s)/Petitioner(s) Notice of Motion and Affidavits Annexed......... i
against Order to Show Cause and Affidavits Annexed.....
Answering Affidavils ......:cscccesceeesunssaceeuss
A mAZON, COR Replying AMfidavits.......scceseserereessesereeeees
ERTIDSecsteecaeseeabernneieisiaeeiiaicssensseecenes
Defendant(s)/Respondent(s) Oise anaes motereniciiiunertasas

 

Upon the foregoing cited papers, the Decision/Order on this Motion to p leee i Yin fa he tf ic

ta file A bi. atin ( f (ee don y is as follows:

L) de cared |

2) C. daree do” tee akin ¢ 1s $« Ebon t PaChuml
te dhe fan dod (ae be Hollwo Vv
Mew Yk Cty Groosif Aubhrik, , 69 M¥Sad 26!
(MOV ct Wonk (994),

3) Plain bil f may schnif a Mahl on te diiaces bad

Ow Ph Cee vict ¢

 

 

Civil Coun
of the
City of New York

 

 

act 22 2019
ENT reef capener

= Ole 6! oe

 

 

 

+22 ans! i
j WW ! o ee . X
0 LL\ MA YM O™SS <
Date \ A ae Civil Court

 

| | | TA a eT
| | | | bis John CV. isi !

 

 
CIVIL COURT OF THE CITY OF NEW YORK
COLNTY OF QUEENS ©

wats - ‘ - poser

VALMIEKERAMANIL
STIPULATION OF SETTLEMENT
PinivisY,
» Against ~ ;
bylex No CV-026077-19,.0U
AMAZON.COM,
Defendant

fi és horeby stiputudd and agreed by and between the parties that the above-referenced
zetion is setilest as follows:

Defendant Amsvon.com 1”A-.12:ci") shall pay Plainti(Y Vatmniki Ramani (~Phaintifl™)
two-thousard dollars ($2,000.00). fn exchange, Plaiautf aprees to discontinuc ihis lawsuit with
ptejudice aml relieve, release and forever dixcharge Amazon and each of ins afiilietes,
nuibsidiaries, attomeys, agents, officers. directors, shancholders, members, and amphoyees
{rolioctively “Representatives”} of and front any and all losses, Hiahilities. dem nc. costs,
expertses, damages, claims, suits, action and csuecs vf action of whatever kind or nature against
Amavon and itx Representatives arising from or releting to duis ligation. -

‘This Stipulation may be signed in cowsterparts and facsimile signatures are valid and

Parr if Matiniki Raman:
tote oR 3 9

fin ay ae

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 49 of 144 PagelD #: 52

CHIL COURT OF THE CITY OF NEW YORK

COUNTY GF QUEENS
VALMIET RAMANI.
. STIPULATION OF
Phaintiiy. . . BISCONTENUANCE WITH
. . FREIUDICE
- against - .

AMAZON.COM, | ~ Index Na, CV-D260774) 2OL

Detomkent

TT IS HEREBY STIPULATED ANB AGREED by the undersigned that whereas no
party Berety is an infant or ag incompetent person for whom a comniities or eonservates has bees
appotoied, and ne person not 9 party has an witéfest in the subject ourticr af the actipn, the abow-
captraned action, and all claims and cauntercinims asserted herein, ane discontinued with
prejudice and withapt cagis te cither party a3 eysiast the other.

‘This Supulstios may be signed in counterpart and facsimile signatures ane vail and

 

 

binding.

f i

2 ~ of or FF
. - wk z wre foo + .
Mainff Valoviki Reamani
{ Ee?

ged

Pai

 
Civil Court of the City of New York
County of Queens

Index no: CV-026077-19/QU

 

VALMIKI RAMANI
Plaintiff(s)
~against-
AMAZON.COM
Defendant(s)

State of New York, County of fy Ll EHK Ss:

Affidavit of Service of Summons
with Endorsed Complaint
(Personal and Corporate)

fp ©
. Z / fj T/A ft Eile V/A . being duly swom, deposes and says:
(Name of Server)

Tam over 18 years of age and not a party to this action.

 

 

At ,AMIPM, on _OF/AG HG at
(Time) (Date)
in the County of (Vee30 Ae
(Name of County)

SUMMONS WITH ENDORSED COMPLAINT in this matter on

by delivering the said SUMMONS to:
(206)abb ~polo  Subpneng — VL®

(Name of actual Person with whom the

[] The said defendant in person,
or,

 

[34-09 84% De Boiapword,

wi HY2s

{Address)

, City/State of New York, I served the attached

Amazon . COPY)

(Name of Defendant as Shown Above)

IFIVIA Zou | COrn

who is:

SUMMONS was left)

Ama ZO4 Cy: | hyo CEL

 

 

 

 

 

 

 

 

 

[] known to me to be the of the
{Title) {(Corporation/Partnesship)

Deseription of Individual Served in Person:

Sex: Color of Skin: Color of Hair:

Approximate Age: Approximate Weight: Approximate Height:
Worn to before me this ay A £ 7 20 oo i
(OOH Ee LL -AKILOV SION
(Notary Public) Notary Public, State of New York

Reg. No. 01AK6045879

Qualified in Queens Coun
Commission Expires H

July 31, 2029

 

 
 

. i
Civil Court of the City of New York ot ee at SX nd,
County of Queens Jeareere Index no: CV-031556-19/QU
VALMIKI RAMANI
Plaintiff(s) Affidavit of Service of Summons
-against- with Endorsed Complaint
AMAZON.COM (Personal and Corporate)
Defendant(s)

 

State of New York, County of{ a Le. 2S SS:

Z/ata Yee lova _, being duly sworn, deposes and says:

(Name of Server)

am over 18 years of age and not a party to this action.

/:23. __,AMifA}on of BELO m /39-09 E414 S&P Ji

 

 

(Time) *(Date) ¢ (Address) LHF LAWN ED ve AY (VORB. a
in the County of (> {Lp & yusS , City/State of New York, I served the attached
(Name of County)

SUMMONS WITH ENDORSED COMPLAINT in this matter on {\ WiLiow_* Ce Ww
(Name of Defendant as Shown Above}

by delivering the said SUMMONS to:

aeemarl Culhe vw & — — cil @ Awez % ‘Con who is:

(Name of actual person with whom the SUMMONS was left)

[] The said defendant in person,
or,

{] known to me to be the _V i+ fe wy of the \fna. Zop ' Cow
(Title) (Corporation/Parinership)

 

 

Description of Individual Served in Person:

Sex: Color of Skin: Color of Hair:
Approximate Age: Approximate Weight: Approximate Height:

FF, 20 /¢

 

 

 

Sworn to before me this _.. Z

lice

idarybobi AKILOV SION
Notary Public, State of New York .
Reg. N o1AK6045819
auatied in queens County
Commission Expires July 34, 2022

   

oe

 

oe
Crue Cou hy or Cite ok PAeiw Aoek =

County of Pp we. Op F 4 w Dew. PY
Ua Lindel. hamencd CU-OBISSE-/ P/ Pee
a APK Bean ve ye Motlonw Pep ly
mes Ae) ee Oy re

 

qo fle dolense ATOR ROA owed, Dw) LLY
U0 u co ake at ply nh yoVior~ 18
Pathetic te cig into WA legal bisyoe ”
awd b Aura) 1 to. oma! S  Hention Shot’ 4
dD ave J hid Bue Caw sas by wet Phin cplby 4
Wovwttion +), LL Saced. \?osrdlo rt Kf ie. D Bana ¢
with oot pK eis to. Ay neds C4 Le. Vew a
D Vowk fas wpcoike- ASP) Bama 6 Lose, i
id Aang Le Lusk nuh This dry Phys :
iw Vela Lipo (1 ore priors ©
be Gu SING, L of phil ordi g Lito gah

2 201d: dn Lb bud] o) oa (ok WE brad’
Liv ole Spe ” Sah conte! rofl 8 Yop? oh. 3
Creare p¢~ MV wear orr ell fim® on try 4
ploowleg tke pi Lowe} put Md broker "
well,” wad cade pil pote Ars He
pate fegiv th 4. bod eames Aub
wot shop A, oh AP We Coild wel},
He Cows hitey 5 Oh etpmner LA end wo

es Lape “MD T Hawes seu. ven whle -
WD

 

 

rian OS Fe lon vag a ok Ques
es tah ese A ee
cee eo Rh a

Pe

18

oN
Bal

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 53 of 144 PagelD #: 56

tk Pin otscdiw Monel aud sa) io.eol: PD beyiat lo
Psirat-sien pads a wrahtcn awl poppecal,
CF Pcie apy pee yer? Ahad ape, Ct pia.
Lp pulls s%ip Jd 16 well ote 0
A phe jpotpend: Danton pase ssndeil
G4 SON oc ep Paced on @& to diam Whoachorf
Shipp Ay [irr  ppe poll chuck Owls BO tte
Cal lino gicr ao "7 fur Aol Ww oh = LD SAL
(i Aude ol aigl He Suan WY es cla toy Jess
Ste ferutefut Dincy ad —thoag “po
LC ae elem icf 4 F pis ati Oued
pala ptt ch po Ly End i ur lf bake
lft § Chul UU DC LBS orl. |) alaisj dar |
thot 1 Y had to 43 yaolL cob us eidis he ipfusirg 6
A witb ay a4 to = LLCfdS Ont, alesolof
Lon eV 114 Z- at At ps: D adv le vag) |
Le. wieeid I; Lap WH pjpal ? prade” A1a6 pe
) this soil along, peat pes plied :
5 NAc. in Ladiea « ios he —- he
) O owt go“ Oba mo wo woekes lofes
Dual re S Dooce jo” AnH puretLqo} hw

had Began. Wb rprr He prt aby Ve Yb
(2)

 
ballet P20 plo wonder ow Wo bed
“nye 5%0p Pee) Seery YU P22 we 4
the. 2 shiny ok 2 ¢ Thon Ww (GFE.
0 Batner e903 tr 2° 8 wxlligp—~
pik gy edloots, ho pedused) fo Dey
ue dyspite bP Us wed Q Ding "o pay
hells “govenine nt OS: Cewi viv) ~
Compensit cr + ‘) Jo D Spod. hip > Lr
c fedenet Loui w ron Chi) Tos ficd
C V Woe Wh hirer fivectod) ho had -

haa my . hook A thee A205 (2.
ache le Lol Se0. wehA ot how
the Mew Yowk Posy describes hau y
> EID be: big. shot Laws po, D) 8 usb.
when 4 have a valid fight yo ! a
So (oA this Cool Count Jed se. On

EY up die 3! Lval bu pro it D Sue! fl

(3) (B) Ticky Ow A YOO" Dye dabuni ey) pe 53 ne Kop

Pies 5 wy doo bell, aedceol 1b he ket bor
af heshs Zz) Ve (022 bre | Antics helAey nan, °
ashod Me oy 9) wt Bg<@ hl utes J Pp be wr Le. Saye

\3 |

 

 

   

 

 
then y Sac jp be whe the hell Ley

alos fire ry LX) (00 ke be ) wag”

2 6 dale wd des Fey Je. Tho. 3 Lajmod
the foo yy bok ts yy p16 44 slo Loy
ana kineod JNO Lr He ag ZA Jog Jo 9.0d
peat me — Sho. doot- 4 pw Wo A Lhe, afi ten
chur pur} te Log At Actos A La £L awl Eb
Dupy” sail AL wooded tried ng ass vbibpfo’
Y) Iifed Laws pe AF AL WSN i a 30x; aL peye
Hee alee > kd pve hoy by wey accepy "

(p ERSOW AL Service wt bool ta

be FAved— oF Bmat or both —
LAA So Puch D pv fepleod pst pep od

a Cound s0dt Lo mony é) Dk 4 Cog wird walt.”

 

 

 

 

 

 

 

 

 

 

 

 

A) Two months [otor: . LA gel pack Y Pu.pe-, aSeb/
pion Yh) difondonts Joxtceol mw yo

Wy, dy —S fern wrrtolly Ca usLrs Cig faed

clea reste, i ps lod Sai v, Shor, Lotito
Ne week Y- L407 ob No toa Jé ny doctor’ S Arce,
fey Aifollorcors , da pg (25 b Ro pyre & SI
Ja0jt palcher.e, apposite , D aun epetral Flt, 2a?

c (

 

 
. Now Lu) this Laws ar Sor Fo larmase

fv my pedsen Prva em Aad} OPES:
JS fC fa boty ,

(2 Wt Sell vd devin cpt Ho. 15.2.0, beoA nt
At wold? ho SPonscd le 2s, tt tho +L0¢
adl it Says eT NM “svack © rich.
Means X's 4 Qoudnet Arima sun bos
~\ pom a pra ne lacWane cowl solls _avel,

Wes eters SO nt Ly ho Comal ho oS
hibweey YVR. Me wget owe} Pinar
te Sellen thet FY Shovld sete out
thee maveo\ acta. onl srt. the absy
MW wrt 20, Thee Cond pocd 2 Sule hn

Ved weew May sl] prioll Prot Ziees wher caps od
te p (oduct ait s Sock. ft WO, WA) gf; efed

porated ) Doty ” :
VS eauc Qo — wd pro pUKS bole ne Cy. eel

5_pvbt “) S wecessful- Sauer Ana % py D
Ws Le in Pll fo “emeart Sb poorer’ Li vik

Wn %o- or ff wiptceo! Din, Rr. 0)red
= Here sort people, thew TWO prowlhs

offi ger spill, YF il Y fared rel Eynavterd
i. SY.

 

 

 

 

 

 

 

 

 

 

 

 
clu Setond Lame Sr “fo. 2avre- WAAAY

as tb cnet: oma IW. RES Po ncbeer
aval thes} ANE. ‘Say Lye Die wor pre}
OPopool-) Sopveol 4 why ther A A thee
pephicd Y flo. ermnctl acled avss Sed Poone
Cra D + YOO sr * Con was nol val. ed 3
Wo the y hove chang od feu po c0bS
Sepp Cr fey pt bt p- pyrpt pao
Ewait_ Sf nad) wlan mat f?
ga. Out é His Low Sot 1b %E de

/ pot Qourg. P bey / o/ f
’) Why doo Ana mae ay rot thick they

DPWe wre CoM Do w5at io Aap iD
sternage chy Wry body bl. ebool duct

aval tor Wy} b odd , 1S a becouse TF, they
oO fe ebb! 4a jeep aol proves coef
Ji8ep pander love bier Lf ther

Ch. Jone SN ens [reoT ew hey’ el if 2 4
uot Joes 16 / ha pen — Amerxor2is fr
gedit oul ) this pvrigl Dw hA |

a be ply fo A Ue bee» Fes. ~ Daged Fanyer~

L6)

 

 
Conalotned Lhe Say pw tio be CAMASE SL eo |
Jct ot. LES Sh is Case yo tle. Cet

Land ~ wll Srae. {0 SF b-€- Ho (pacts

Birk aw a poh. @ Co on op S AXf poe ‘

2) wove Fh pec ll? 40 <fo an.

hi shee: Count Amos & wx 15 wonGs

8 Leo b>. Ch ne ols [Caw aol thy Vk.

hun nrg 4 fecol ly phen ae cis of

this 5132 i

 

 

 

 

 

 

— UAL mbes Ramon’
| ORT wl ? oo eS — L out VA
wv ——_—
wb Luv Jeli _o loin *

ast fo Por
Wy ay ©
/ L

 

 

 

 

 

 

 

 

 

 

 

ee ae eevee

D

 
 

Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 59 of 144 PagelD #: 62

POILT od fe Cpe
71h bu ttf ba ff L

 

UNSMRy [BIADS, UBM YURW @ Ul Slo ay

J USWAG OU PSA}299i | SYLP OL, “WAaWOW qingiyBi siy sof winked ur Dalsenber ey WOTItu
SIS 841 10D leAsu ey — Ajapnid pajeasy sem ay SAes 1ueWeY Ing "Ids sul Youeis diay ol
PSsn Bulag siaM Suing pa]jouUo0s Jey] PSouUNOUUe JUapISeid Sy] Jey) sHsora lo sidnod y

"SLOIM 1URUIBY IHIWIBA juOnesUSdO> ay!) PINOM | pasn eg UoseBSns Aw pinoys,,

L~ ‘Agrae peuing eq ynis AsesiB aul BunseBfins iene) © ejoum oy Os ‘ODKSIA| JO HIND Sud
wD Ul PS HO OLOZ Sys JOYE PWR Weplsaig INO Cyey Ol DeluwM Sy SUuEID UBL SUSaND
a JOYWSMdO HOYS suo S$ BWULAO
ty ESLHOINOHL YNOA YOs WSES
Neh

RE ha. vd rq ey
Civil Court of the City of New York Index Number: CV-026077-19/QU
County of Queens

 

VALMIKI RAMANI SUMMONS WITH ENDORSED

Plaintiff(s) COMPLAINT

-against- BASIS OF VENUE: Plaintiff's residence

AMAZON.COM

Defendant(s) Plaintiff's Address (s) :

VALMIKI RAMANI
139-05 85TH DR
APT 6D

BRIARWOOD, NY 11435

 

To the named defendant (s)
AMAZON.COM (Deft), at 410 TERRY AVE NORTH, Seattle, WA 98109

YOU ARE HEREBY SUMMONED to appear in the Civil Court of the City of New York, County of Queens at the office of the Clerk

of the said Court at 89-17 Sutphin Boulevard in the County of Queens, City and State of New York, within the time provided by law
as noted below and to file your answer to the (endorsed summons) (annexed complaint) * with the Clerk; upon your failure to answer,

judgment will be taken against you for the total sum of $5,000.00 and interest as detailed below.
Plaintiff's work sheet may be attached for additional information if deemed necessary by the clerk.

Date:July 29, 2019
Alia Razzaq
Chief Clerk

ENDORSED COMPLAINI

The nature and the substance of the plaintiff's cause of action is as follows: Assault, harassment, personal injuries, pain
& suffering caused by delivery person for $5,000.00 with interest from 07/23/2019

*NOTE TO THE DEFENDANT
A) if the summons is served by its delivery to you personally within the City of New York, you must appear and answer within
TWENTY days after such service; or
B) If the summons is served by delivery to any person other than you personally, or is served outside the City of New York, or by
publication, or by any means other than personal delivery to you within the City of New York, you are allowed THIRTY days after the
proof of service thereof is filed with the Clerk of this Court within which to appear and answer.
C) Following CPLR 321 (a) corporations must be represented by an attorney.

* NOTE TO THE SERVER OF THE SUMMONS

The person who serves the summons should complete the Affidavit of Service and shall file it in the Clerk's Office in the county where the
action is brought.

byl 2 [i Clg
PLAINTIFF'S CERTIFICATION SIGN NAME: [ Ibe wae?
(See 22NYCRR, Section 130-1. 1a) PRINT NAME: VALMIKI RAMANI

-<) Wibrt CZ PRIOR Case apof
Pboo} oj Sel AVLCce “TS

~ oe
. 2 ae “S . at
CUM A? 307 wt SE ROU ok,

desigy wel ee! E por. Co >) \ ;
fu 2 PEE io mae Caivrl we! fink. On. Lowe

NO Po L Sonel ¢ Se@ vice. 1S ALC e » Weel bey Comy ce 09

  

~ - teh we

ete a

 
THANE Cul Celli ak. ner ILA Ogi bce. Coty ual S$
COUNT 4 OF Coe one ~
VALMUIKL RAMAAL WwDperk. wos.
hainvepl » GV-031S56 -19/@u

CUR, MLRS sT
Broz “OF aE RET rE espowse “fo De | Yedense
WM ON Lor
JT valmiki Ramaws. of ray-05 FE Ve, aD
AS QL Le Qiwood Wwe L123 hone. bg de poses Teds Ussovere

j
to be “Pups LO- S- Lo

 

> | am appaulecf Vel tle. aed ONnS€. alt Dal ree}
uh Cot clang vam hy G eof fine Prathest( Aw
Gap uLias CASO 2G AL ue Pvar.ox Com who Wl
hea ASS H& (rock oxpud Ly rc pect ove savol
Ama mm +Cam ir, hd. Be set +t Le Wwe- A
w a Reached or A Cavs atl 4 which 16
1s pres hy sit? 5 te wld cL ap "the (Baro.
‘Cov Wer woh at POeSe. wt Se Rue ol when
Sek vicw 4 Pid £.0.5.5 LIRA da we. by Ho Saune.
WAEZAws 5 ere lowes: wont. OCS. pPestsonet
Soke oud prvly th, p.oug), ALY ool. Ema
whic} thoy WO se. Sehial bin Yo ace peau} LRA han Wwe
Oy) 1-11-19 avd 4~ Hs et all. wd whieh Ls Bo
Exbheby i Awez py ‘s Eyovl is Serf PP _@
dle poattwieh special sox uP yD deal wr process
So hut Leg cust Jrok, Kat Mle emerk’ Suboena- Cid _

Pim 2 Oy ‘Come

Ur)

eee mag og

 
Ow Augus’. QL 281 LL parchaseol foe O21 e LA
2 pighiy CuW Aina zi (Pew the. Qubthase ond

Ca e2u LY Spock. ( acs wa tv ov wo Sct? ) CA f/
exct pe. dahae Cool Qc. L2.& 2) prehoes IW
Cayee in a plas sic hy L kee B one seal po posdbnctts Le
e).siohes poral pacth pod 16 _piatecctinsrcs cloth. Caves
Sb 5 useol yb CPL deSLlAb coljow ~ pee Shieh,
ne CANRL VLE USPS od [ol ccd. ep ae fufted sate
i mec bow! To ised 0 it! th beee® apd
SéConel ti mi woh ovta prbler "Yl % hitel.
Usage. Pe. gel | leaked ont ocrcok Couspeds
ie ‘cho dl utes. rot obo cps ay hip Yo hed

bee. be OA, dae yo abs) here cetal 0 YE. loool.
X, Lv J La, prep mo al Yenc. [ea pyr fe Cal of)

JF
Wh SK in [ALG i lov be {2 pool ) catlhacl

WHA OV yar ouglsry oo he. pug SLQLA pr Corom AOviwy

sMuld call ache tok piefaus f) thy Finer
Leiore bprrww JA athe elvin el ator ert e Thee we).
ow-evexe- loed\ OM. ‘They Showe ol iol) 9 DVhacl fu Leal
A Civil suck Aor FQ 8 erry al. “g S, oo Goole
Te, AO Woy doe pon olease-pibool 1 Ll Const vce ohymeeliti

wet ee mg

 

2.)

 
+t) 7 OW S wb ww Ovo} lronourd). hoot

k

Atter Dee | ru drete of Lovee dia. Qk
2 wy
2) \eow m sKin sy apy ect ~}o ap peat
whee. Me “to 3 a hovel Cr me- pd CC vee vr
q) (OOS cat ‘fe Qs Ure ODO & folloncenp ta 4 td. ct
phy SLCAW Ve wow) wool VW 25S On) 5 ns
ba wd Len. + Lp. of.oy obo Pomene he evel
he. teok PLeva nes wid ris pho Wt. apd
AAy (Ly: QL yt. A Poet C9 pol OAL pl et Leya~ j
<) A) ow went {2 Hy CtuLl. Coup enc
A: \_ eal A-al AW Cw nrenchel 5 tebreinpwyt
Snel C0 plat as Luna He CoO ecpt~
au ool Nae. a WAS Lert Ly Cole of -
o 25S) 000 ¢ OR tle Lh “¥ wee Jlrs) Db
Sob Del neo! he Cy te So cx\ do. blac Syd
NX
Lece. Poche * AN i LIAS bale _Leof “fo
Ama EXO. 1 Co or. bex YO ACE DOR ALbirs,
and A L£dPY) tucd cpt fe C ey ff hey PRauweld _
Oo i
4 cM) DW), (& Wie Au mGS yr Les ol cert LS [demon te»

 

 

 

om WOKS ——

 

Com phew wy. Ohea.. QySex. PYLON cro €. sehidot

fe Sepp all te prec cy © w patter frome
(3)

ene og dee

 
WW clu in Lyoy doc cepmorks(_ tl, _) OP Q. iss
Cose COAL es y nad. Ope Co Nee | whee hh

wan Ss. ot ~f ool. oud 2) Conn | 5 cel. we)
Oocwsse Ruedl Ow A Vt ALY me RES fie

C ct fifo ws case has “beck sepusel-

 

 

i) Wis Leia fKe'§ 0 a LS. Yl Wing Ly C Latms
rat Arvin > on (awe ao nok uo.
dd
pis pot 5 When they wee ad iv
He os CaeSk 5 CLPOA, ca Deon
Se acted Bye tree Legal. BQ)e2t howe
UY Wd oowe 0 Whe the Lib futon “4 Dury !

‘w) Ve - Qwezow ! COW thinse thot
the Y OP wat hes ow etble. dar there PRoclac yr
prey aR “4 “) < S obs. ely, rol 5 x ee) ‘) Ww cle be Sead
We Lp Liv dockosunn In| ul ris en LC. chamecal
pr fle yr ry bral, 20 “Dp Dorm aly Le iw Yo dite LO’
Gwon Th lou 4 l (eld vot). prow
pete es “Lob eld 2 adi).
Nor Reg. No. ee y UW ALimtles Ran Wan ¢
Commission Expos July 81/8022

 

   

wee eg

 
Civil Court of the City of New York Index Number: CV-031556-19/QU
County of Queens

 

VALMIKI RAMANI SUMMONS WITH ENDORSED

Plaintitf(s) COMPLAINT

-against- ee BASIS OF VENUE: Plaintiff's residence

AMAZON.COM

Defendant(s) Plaintiff's Address (s):

VALMIKI RAMANI
139-05 85 DR
APT 6D

BRIARWOOD, NY 11435

 

To the named defendant (s)
AMAZON.COM (Deft), at 410 TERRY AVE N, Seattle, WA 98109

YOU ARE HEREBY SUMMONED to appear in the Civil Court of the City of New York, County of Queens at the office of the Clerk
of the said Court at 89-17 Sutphin Boulevard in the County of Queens, City and State of New York, within the time provided by law
as noted below and to file your answer to the (endorsed summons) (annexed complaint) * with the Clerk; upon your failure to answer,

judgment will be taken against you for the total sum of $5,000.00 and interest as detailed below.
Plaintiffs work sheet may be attached for additional information if deemed necessary by the clerk.

Date:September 17, 2019
Aha Razzaq

Chief Clerk

ENDORSED COMPLAINT

The nature and the substance of the plaintiff's cause of action is as follows: Personal Injuries; Other: Defective product
for $5,000.00 with interest from 09/06/2019

*NOTE TO THE DEFENDANT
A) If the summons is served by its delivery to you personally within the City of New York, you must appear and answer within

TIVENTY days after such service; or
B) If the summons is served by delivery to any person other than you personally, or is served outside the City of New York, or by

publication, or by any means other than personal delivery to you within the City of New York, you are allowed THIRTY days after the
proof of service thereof is filed with the Clerk of this Court within which fo appear and answer.
C) Following CPLR 321(a) corporations must be represented by an attorney.

* NOTE TO THE SERVER OF THE SUMMONS

The person who serves the summons should complete the Affidavit of Service and shall file it in the Clerk's Office in the county where the
action is brought.

A e “)
PLAINTIFF'S CERTIFICATION SIGN NAME: [ yy wndbea Dwr

(See 22NYCRR, Section 130-1.1a) PRINT NAME: VALMIKI RAMANI

Trivett Sammons cnet Com placed )

 
“lhe Cavil. Couee tof Wew u ark
Coouw 14 oA uve ns:
C/A. Wn Le PAmawt

 

 

 

 

Li wry fF y= A ft 3, 6S f. :
Avino zon: Com CO wr Ain
D<,} encla ny”

 

b tle Cuil Common Wen yo ek SVL Cont: 1 Ouvons
) Ji UnlmKe | amawt phearnila dd a vad~ as SS Dov
_ ADT 6D (Sta povred! won ig 2S ly ene. bu Vepases
+o LU Peutna spe be Veee ogres nvtixe Venolar
Vilazon’ Com~ TW of 110 “Vee. ey Acae vv
Seattle. WA 1S104, thet df Luring “fle month
Nenmper— 2019 1, oaderals and eBeeteo} OMe,
V2“ Qi Lwehos ce WRAY TCiwa (ampRess at a
Cosy S oh 253" A CUS chown nw oe} hab ¢ fr ottachecl «

 

 

 

2) LL placed reg LW {p Veide? g Epees Zu Pu. SQ wt
Cow beco WLe_ Cole pel thew be aaw 40.
Use ik phaced bw a Ope cotyow Veo. shun yo
aad psy bite, Wa. Use. pak) LICL C). Louns yy
asst hep and (0. Nomeainduol OrYL. pri aechon ‘
Aho fe sy ond) Seconh ‘tipos ) used I Wede
Gucees Tey ho » Weel to Hurd th: We 7d nse)

DK war ae | pond NL wag haw a Syte O- YB wel.
on te ed wit Dce pack 4 estpa Loree)

Oy f-@ PP eet OP wre. Whe —hend ye oO DY wih sido.
ye U oJ
Le)

 

 
bel when A ~ Kn ecole Ig wil by ad
nasa acto gel. Uf Joolk to 4o-w. “pack
ope bod uw wid ti -\iof thoe WAAL.
eC hig al ae 1. aay Wee) aboplea. 7
Apa Rup wine MD us nd bnes Io fa hid pwd
to. Yo wot: re immediatals “foafe ? a. pete
trwel anel wi peol ( te. 9 ol oh wany. bpolv .
and ~trook do | Lcd, Dace not p Lacwel aE
LW co OlasS ic has acl: Tepe dros be png ye
See. hho. LO, Pa Come au Apps? EL)
ADD apd th ope Wwe pe al pe ash t Li Jrdrbh_.
4S WE Cnc i fee ja which boa ‘col Lik».of
Ca ——— ut As GA) ep Ran the. pe te J elf wag
leak ino Oasf v9 tren. WD tic eel thet
Tle nen, thal Ne ge. Was ON Wey skin hal telcew
On OH pu Yo eed Colpun "L thew parrc.cedeo}
Ae Yoke. AS hower. fo wash Howe gota
amy body joebar No wes sfo Mie

 

 

 

3) ml thew Polc a. SteRatol cheat) (ALA pawacocbed!
bua Wael) Vacs a fA. oto. pbZin padsbles ont

i
nit edd ct woot Fuc CRIim "Lo hen Xv
Oy? & Co fp 0 ‘nel pyc Pubh orl nw 4 {Plovkes

7D fool - ahipe 5 Th o> te ke Sr piw W/flap)

epg WROp pool ere) ob Coa low. Awl apoupa wn
bnody vy t) lt Sd Yé Coit (ob (ck put Ory. ely thes ‘

(2)

aw

 
~y>

He bn mache aA al ( té Ba p) Ot APRA)
u) ¢ Cafe. 9 hy SLOW onal “by Lol hun” wh of. aol
happonocdk onel how TC > ewe l Oe a ot. Ue
CO op noved onl. fo La Me SO \wuneds then
be-Po ee NO err Cn) chang OS Oven sdvencl
dove A fooott wrewte~ a cbvaols bs GOW 3 how eof
2 OVAL © tp Mvealhe wt, i biw: QU LG Ord. | pou) a“. yeung
ex Nasod by te Kis, AL Wives io OV Cy. ee LF
fo 84 plus Locyy AS sha fro Vay bry wa obacloweep

5) TV have Suh ey ainee| Ley Afi WN YA

Eiiv on Mey a ak p- V4) slap on ad ot) eb: fe Ee yrowr
1) eng dois hoo e ptatad pe bo ol Hanoagh
le Jooteng.e 7 Ho [ok ba tof conpont Xd
YAW boobs. hn Hats Yaw bore ob sakp Lof

/ J Ti S

4 tty D fru Sy CL a!
/ 7

 

 

 

oD wero’ [ow hoes beow te Lawl apo eel Lng
foot op uabily enad hp).oc tua epadwcs? fe he. usbel oy
A wine S Miiv boy, 2 nto tole Jo potos-1T
fb Lhe whed, Lhd boi “othe LAs L ob Le wureborh.
IZGUS IY IToZBIETETD it woo peceswed

 

D) You ims. wGLe| Se uAd epool bey A WLOVS er fu “Coy
chedeot eye boodic ye op SELL. by %

C+
prenortiegcy Cow pen Setion A BS oO, Goo 7 ed,”
8

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 69 of 144 PagelD #: 72

 

 

} Mowe to seller A ice WwW Lap OX Ra Lape-t
“4 nl
LeLwel Con Ress 2K 21 Lc hes e ~ sale

oh tl: pmee’ 4 82.3 +99

 

3

7 Ja Dwr ae
Ob ein} i.
el wn lex ‘ famayy
vcommmta PH JIS ~-291-7297Z
Nota up it Nao Emarl! Valuiki« de Rd

Quaited in Queens Couny
Commission Expires 03/13/2021

oF

Exhibits 406 achod :

6 yal Com’
7

 

 

TA
. f ~ Dod tee”s RO Po Ey .
: j

 

 

 

 

 

 

 

 

 

 

Cy). |

 
Civil Court of the City of New York

County of Queens / Index no: CV-031556-19/QU

 
 

VALMIKI RAMANI
Plaintiff(s) Affidavit of Service of Summons
AM AON COM with Endorsed Complaint
- CA (Personal and Corporat
Defendant(s) chy Lhe (Persona and Corporate)

 

State of New York, County of Wuzcc ML gs: -
Z /: ae a A ki i OVA , being duly sworn, deposes and says:

(Name of Server)

 

Iam over 18 years of age and not a party to thts action.

AMIPM, on ote at (39-09 Ss Myve [A bmaciwoowk Mb:

At :

 

 

(Time) (Date) (Address)
in the County of : CEL LL , City/State of New York, I served the attached
(Name of County)
SUMMONS WITH ENDORSED COMPLAINT in this matter on 4 (VN ZOOM. Cry)

 

(Name of Defendant as Shown Above)
by delivering the said SUMMONS to:

Fax (wk 266 ~ 70/0 SUBL0ER RQ — of VE (@ AMAZON. Corn who is:

(Naine of actual person with whom the SUMMONS was left)

[] The said defendant in person,
or, sy
[] known to me to be the of the Ah Mazel Cit [ Lt OCESFL

(Title) (Corporation/Partnership)

 

 

Description of Individual Served in Person:

 

 

 

 

   
  

 

Sex: Color of Skin: Color of Hair:
Approximate Age: _Approximate Weight: Approximate Height:
Sworn to before me his Kot F_,20/ y SS EF -
I: _--(ténature of Deponent)
LMOUMELL AKILOV SION
7 (étary Public) Notary Public, Stato of New York

Reg. No. 01AK6045819
Qualified in Queens County
Coramission Expires July 31, 2022

 
Civil Court of the City of New York Index Number: CV-031556-19/QU

County of Queens

 

 

VALMIKI RAMANI AMENDED SUMMONS WITH

Plaintiff(s) ENDORSED

-against- COMPLAINT

AMAZON.COM BASIS OF VENUE: Plaintiff's residence

Defendant(s)

Plaintiffs Address (s) :
VALMIKI RAMANI
139-05 85 DR
APT 6D

BRIARWOOD, NY 11435

 

To the named defendant (s)

AMAZON.COM (Deft), at 410 TERRY AVE N, Seattle, WA 98109
YOU ARE HEREBY SUMMONED to appear in the Civil Court of the City of New York, County of Queens at the office of the Clerk
of the said Court at 89-17 Sutphin Boulevard in the County of Queens, City and State of New York, within the time provided by law
as noted below and to file your answer to the (endorsed summons) (annexed complaint) * with the Clerk; upon your failure to answer,

judgment will be taken against you for the total sum of $25,000.00 and interest as detailed below.
Plaintiff's work sheet may be attached for additional information if deemed necessary by the clerk.

Date:September 17, 2019
Alta Razzaq

Chief Clerk

ENDORSED COMPLAINT
The nature and the substance of the plaintiff's cause of action is as follows: NEW DEVELOPMENT OF PHYSICAL DAMAGE TO

MY BODY-SKIN HAS DEVELOPED AS A RESULT OF DEFECTIVE PRODUCT SOLD - LEAKING TOXIC GEL ON MY SKIN.
PAM ASKING THE MAXIMUM THIS COURT ALLOWS OF $25,000.00

*NOTE TO THE DEFENDANT
A) if the summons is served by its delivery to you personally within the City of New York, you must appear and answer within

TWENTY days after such service; or
B) If the summons is served by delivery to any person other than you personally, or is served outside the City of New York, or by

publication, or by any means other than personal delivery to you within the City of New York, you are allowed THIRTY days after the

proof of service thereof is filed with the Clerk of this Court within which to appear and answer.
C) Following CPLR 321 (a) corporations must be represented by an attorney.

* NOTE TO THE SERVER OF THE SUMMONS

The person who serves the summons should complete the Affidavit of Service and shall file it in the Clerk's Office in the county where the

action is brought.
~“ f
Aviski \omor~
PLAINTIFF'S CERTIFICATION SIGN NAME: UL WS | A AYN

(See 22NYCRR, Section 130-1. 1a) PRINT NAME: VALMIKI RAMANI

 
|S Cau Court the Ci ty of WOW Moric

County oF Mueens +: PART
Endex moO

Velvaulk [cuncan ; Vlarct sy / ou

AOCINES § Ammewelast Yo

ow OZ oY * Com Dedendarl Sammons ~ Com. 0a}
STave oY New Work — Comit,Y oF Queens!

ke. Vale wales eamanc phowrtrA\ duly cle pas SES

they SWCe, perchasing He Si Um mOms — 5 in? Loih
wd ox eLs awa Lec A .Co flea sachin Pheong )
a rw J
Agloctive Pdaductare Ms 40 Stem a: @S. 2,000 _, wv
neve ie CREASA5 CH He (2G. wes ~ LOY Sot Leg LY
B 25, oon cl we fd patna yuc_oh evole pe. Live. 2
OW te ho by abaclomer Thigh enol ba tow OW
which the. Gel in ice pack (ol do decttine
ie Vy
has Sut loc ed within ‘7 fas) oO hasaS 3
PL Uo AS ax wed Dy, SICLOve~ Pee pret G.fe. attache!
LS et hy bey ts <p° aw fF - :

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dale “G~ 25 -14 Lol rcp cmon’
a : Cham uJ) 7
aan VALI ¢ Remain
ZLATA AKILOVA |
= Sisie of New York

   

. OTAKS 3556 74
- nm Quesns County
VU STDT EApTES US lareueT

 

 

 

 

 
Ce ond © a Cx) red ws t eA ey “Liv: Wives x Vea

VU ablim ate. Ray a
Davy ehen
COG Cot sp t ones Cv-e O03 315 619/ my,

Wivnavzonw + Coan. 0.05 pond ost
“ : “—— cia -
ASEEDA UIT oF Sere
“ . ar ry ™ . - bo
Site. ol Mew Work Coun oF Queaass? Mok
SJ ao : a ' ;
ee heorda cdulu Seat
ve-Dobe6 oct SOLS § " J meg wos
LAM nua LS YUPORS old aad wot aa. RAY “yo “THis acy WA -

ON 9-85-19  Tseaved Geoff ery BRO
Dohondant Legal RoenV Lv Webwork Vics G ba SER CHB RR Vo] LOD WwW
C. oun” and. De. je nda “Oyen “2.0 nN Coon WLLr Ewmak.
act “Gul ENG — Cru il ® Pima zon Cow” Cero tel ea}
St vy mons Cuel. ( wap haul oyel Qk be bess
Service TOD e\ erdany  awel dol ond ant /s
agony CA pw yy ow he owe. ULCw OD -&8%S spol Se jee? Co
ook Qh Yh {Lo poh Ui ee fay anel | vate LL *

Sig 4 wif fas =

Sweet \ye-Fo e ym ss a 5 ~20i9 ot

 

 

WOT A Ry Public.

 

BURUAHGV BORS
Notary Public, State ef Hew Yark
No, QIEDAS4 7793

conmuasoareovere £2 9/ 25/)7

by. WE

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 74 of 144 PagelD #: 77

a )\ Jp rks

 

 
 

Extra Large Ice Pack for Injuries - Covers
Entire Back, Hips, Neck and Spine.
Reusable and Flexible Direct from The
Freezer (by Magic Gel)

iy

523%

Getitassoonas Wed, Sep 18
FREE Shipping on orders over 325 shipped by

ANT QO Y

ez Liat (5

a i.

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 76 of 144 PagelD #: 79

HAZARIAN MEDICAL ASSOCIATES PLLC
4338 44™ STREET SUNNYSIDE NEW YORK 11104

7287862734

RE: RAMANI, VALMIKI

DOB 11/24/1948
TO WHOM IT MAY CONCERN:

THE ABOVE PATIENT IS UNDER MY MEDICAL CARE FOR MULTIPLE MEDICAL PROBLEMS SEEN IN MY
OFFICE ON 09/25/19 C/O SEVERAL NEW SKIN LESIONS INVOLVING HIS LEFT FLANK AND ABDOMEN
OVERLYING THE AREA WITH PREVIOUS LEAKAGE OF AN ICE PACK USED BY PATIENT IN ORDER TO
ALLEVIATE PAIN IN THE AREA OCCURRING APPROXIMATELY TWO WEEKS AGO. PHYSICAL EXAM REVEALS
SEVERAL AREAS OF VARYING SIZES OF HYPERPIGEMNTED DERMATITIS OVERLYING LEFT ANTERIOR
LOWER ABDOMEN, LEFT FLANK AND BUTTOCKS. TOPICAL TREATMENTS ARE ADVISED, PLEASE CONTACT
ME IF YOU HAVE ANY FURTHER QUESTIONS OR CONCERNS.

SINCERELY,
* Weep,
ty

. Up

Oe Sp, ep

Coyteg ly

Rte Tap,
+ yy 2
Oy

ARTHUR HAZARIAN MD

09/25/2019

 
Patient: VALMIKI D. RAMANI MRN:5490952 DOB: Nov 24, 1948
Date of Service; 10/11/2019

13, Mulllpia Vitamins TABS;
Therapy: (Recorded:06Sep2012) to Recorded

14. Niacin TABS;
Therapy: (Recorded:05Sep2012} to Recorded

15. Olopatadine HCI - 0.1 % Ophthalmic Solution (Patanol); INSTILL 1 DROP INTO AFFECTED
EYE(S) TWICE DAILY AS DIRECTED;
Therapy: 02Jan2018 to (Evaluate:20Jan2019) Requested for: 02Jan2019; Last Rx:02Jan2019
Ordered

416. Pazeo 0.7 % Ophthalmic Solution; INSTILL 1 DROP IN BOTH EYES 2 TIMES DAILY;
Therapy: 21Feb2019 to (Evaluate:190ct2019) Requested for: 22Apr2019; Last Rx:22Apr2018
Ordered

17. Symbicort 160-4.5 MCG/ACT Inhalation Aerosol; INHALE 2 PUFFS Twice daily;
Therapy: 114un2019 to (Last Rx:17Sep2019) Requested for: 17Sep2018 Ordered

18. traZODone HCl - 50 MG Oral Tablet;
Therapy: (Recordad:05S ep2012) to Recorded

19. Ventolin HFA 108 (90 Basa) MCG/ACT Inhalation Aerosol Solution; INHALE 1 TO 2 PUFFS
EVERY 4TO 6 HOURS AS NEEDED;
Therapy: 17$ep2018 to (Evaluate:15Mar2020) Requested for: 17Sep2019; Last Rx:17Sep2019
Ordered

Signatures
Electronically signed by : LINDSEY BORDONE, M.D.; Oct 13 2019 11:40AM EST (Author)

C. so L UN by LES Vv C- vv ayo Lay ,

Printed By: Brittany Moris10/16/19 9:12:33 AM = 3of3

 
 

ree ee

 

l
on

Exwort

“EINDOX WO

 

wen eed a anes og a

 

 
 

82

20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 79 of 144 PagelD #

Case 1

‘JO S129 USHER) SMe ale NOA suns aye O1 INEM 3M g JaWOISNO penjea JNO Se NOA SABY 01 BOSAL INO S| 11

“ujeSe Buyunoge sjqi ayy] BuIMALe. Jo SaouUD eta eZILUIILU 0: PUR ‘eouss. aleinsoe @Alad@)-NOA Jey) eZhsUa Ol PUY SUPOM aNURUOD 18M Pa/NSSE isay

. , oo oe “yeas IUSLYITIAY 2NO UT-UROS 8A-89U0 EW UoTeWuyuse @ MOA PUSS (,8M LuMa! al) Bujaiebay

a salu Bus| Asa eB 20) 9seq
JaUIOISNO Payer Ind Jo Wed se NOK dasy o] adoy and se} sNUL psAeldsie avey nod Gujpuelssepun pue souaned ayy Jo) apipe.B ino ssezdxe oF oH DiMOM pue IOUS SIL) Jo; sziBolode oa awuy aJoW sud

: ‘aunyn} Uj JOJ22 BYU) 98,09 O) BLONIZe /JessooSU Bue) Uo WOM Due anss| Jeinoed sia aebyssaul jn syeoiye sna

‘ . “ONUOS
JNO 4 INO $10193j O] ANP OS OP O} [NB] AM SALUNSWUOS UAASM|OY “BO|A/SE JNO JO 188q Sil YIM SIBLUOISND JNO ISISSe 01 JOABSPUS SABIE aM SE-NOA ayf{ JAWOISNO panjen E iujoddasip a: 1uEM JaAeU PINOM SV,

‘SUONENYS YONG ej O) SJ9UOISND INO Palvem JaAau AjUPeUISD avy ‘BunUloddes|p aq shu SIU) 18) PUBTSJapUN
| S/MIny ul paleadas iou 3] Si} Let) dunsue oO luaWnedap Wasuge JNO 6] S1UALULUOS INOA PapYeAUQ) aA, pue AOnd se slur pee svey } aBpaouy uno op si) GujSuug ul veya unos atepaudde | ‘ASy

‘paebas Siu) Uy] Ine AOA Buldioy 9g Id AUOM 1OU OP SSBald ‘POLIBLAEKE 01 SJBLLOISND PAN|eA INO INEM OAK TEUM OU ASUYOD s}SiUl “BOUA|USAUSOU! OW JO az[Scjode ayasuys Aly jdaooe aseald

‘UsWoNGe INA ot pasodxs Bulag ja0 sul Inoak pawlaoues ave Nod Ose |,souNU Jo] weg a9] abieq BAXZ, INOA PEUJNIel BABY MOA LeU) pUEIsIapUN AlUTeLaD |

_ NH
- EOS

CUO LOREIED Adel Sas adAlagueWoysng WOs'UOZe Ly

LE sy dag UO

 

id | | Let
. oy ard ert ° iP

Leroy 42D Qh 67d a) Meza

 

andes

wae oy
 

ge 80 of 144 PagelD #: 83

Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Pa

TONE TNTA OT
‘Auedwog sWwagdaWwoysng ISO) B,UUza pIING sn Budiey s1 wIEQpaa; JNO,
Wo‘ UOZELUy
Buos wey

‘spiebay seg

 

STP PSCTASAM ETS ID OS TEL TNT
12184 439 aseaid ‘ou }

 

 
 

TASAITSAT ES}

“484 HO[O asEaiC ‘sad J

.. . . - euridod snod BAIS | DIC ‘Aumbu anOA 10) nod YUBLL
JaWOlEns kddeye eSB Uoos nod aas OF PUPAUO] YOO} ann ‘woddns panuiluos AEA Buipueissapun: ‘pue adualled wnoA aleoeidde Aga |

- sn 0} NOE. alya O1
aleYsay 1UOp aseaid ‘asia Buyrawos | vere asjoard quiny

“JO Ges Laye) shee ale nod ans ave 01 IUEM.9/A % JAWOISNS Panjea ino se ‘nok aABY 0) aGaiAlid une S| 1

Zh Crpeig mMipIiay a
yoragd 4 O77 sh md 9 € ll

 

a ends
~) eae OY - Sb CU (eC. h AAS OC
amazoncony ae d

O- LG - feck

Order Placed: August 21, 2019
Amazon.com order number: 111-8674163-5979409

Order Total: $31.98

Shipped on August 27, 2019

Items Ordered Price
1 of: The Vitamin Shoppe Lactase Enzyme 125MG, Supports Lactase or Dairy Digestion, $7.99

Natural Support for Healthy Digestion (100 Softgels)
Sold by: The Vitamin Shoppe (28/220 i705 %2)

Condition: New
1 of: Extra Large Ice Pack for Injuries - Covers Entire Back, Hips, Neck and Spine. $23.99

Reusable and Flexible Direct from The Freezer (by Magic Gel)
Sold by: Stretton Online (): fase}

Condition: New

Shipping Address: Item(s) Subtotal: $31.98
valmiki ramani Shipping & Handling: $8.72
139-05 85 dr Free Shipping: -$8.72
Cd
briarwood, ny 11435 Total before tax: $31.98
United States Sales Tax: $0.00
Shipping Speed: Total for This Shipment: $31.98

FREE Shipping:

Payment information

Payment Method: Item(s) Subtotal: $31.98
MasterCard | Last digits: 3340 Shipping & Handling: $8.72

Free Shipping: -$8.72
Billing address ping: -$8.72

valmiki ramani
139-05 85 dr Total before tax: $31.98
6d Estimated tax to be collected: $0.00

briarwood, ny 11435

United States Grand Total:$31.98

Credit Card transactions MasterCard ending in 3340: August 27, 2019: $31.98

To view the status of your order, return to “2rc;e5 bajoeeneesy

ery Pfbegie oe ce © 1996-2019, Amazon.com, Inc. or its affiliates

 
Case eee“ OR EA mes =iled Son ght PagelD #: 85
+ at ( (ovued ol ee Pine

co

cis
a
ral

 

 

IceWraps Flexible icing Compress for
Therapy 12"x21” Reusable Oversize
Multipurpose Cold Clay Pack for Back,
Sciatica, Knee, Hip Pain Retief - Includ...

209

$2399

Get it as soon as Tomorrow, Oct 3
FREE Shipping on orders over $25 shipped by
Amazon

FSA or HSA eligible

 
 

i, gis |

Ln Wud 03 aOCLU ae Poy

Serre) ONO PSM 10 Sa

QE LU

aot Aq pyag

      

HOPUUUOZU! TIN POIG AMAA Weday |)

GHETS Wary sau t

‘sansa Arend Aup ysuleGe Aguado O94 | £31 Aq SPURIS PUT LO]IIEYSES INGA O2 payILULUES S| SdtuA, aa]
PEG 10 ‘S/S CINE dy SCL guy FUHOL Bo]R COs BAIL PAUSUIS "Wied UID 1Oy Apa
‘SBIAUILL Sp OL dM proo sheyg Asanoza AlGuns wod to sounfur Guuaaaid 04 s0290p Aq papuswwory
“WONESUSPLOD LUOd, AIP 1D BEQUTIOJLUOD Lays daaq 07 14409 JeqEy ayceysem Yos SOPMIUL LEX. ZL eG Gg
‘QUA Jo poled Papuayxa ut jaAd aN iwadiual yoos Bulyieos put s}qets bie ssts}et of

POLe|NUOY ‘sO PwR AbD Guleay jUnyeu-ye UA apelu S| Qui dau - Guise}; So; puc vazoly uayas arqiNayy

 

 

cons 6 “Pal auetg WOrUOZeluy aif Joy jtacudde uodn gg'og Aty Ajuersuy yo O8S 125

SUNLESS Ss OL Aue 1 pg syeisg cuozowy Aq paddius 675 23n0 suspse Uo Butddiys aay 9 BQ S75 aang

MOMOWOL AJZADP 81Sty

 

suomsen’ paraasud ¢L |] sGurt goz
LiLo 8390 sanwy

 

sdey
2a uoreuny Aq paddiys $75 J3A0D MIGe{ snug adi4 sapnyaul - yaley Uleg
HHA0 SIBPIO VO GUISES 3384 8 CIH ‘Buy ‘eINIBIS 'YIeq JO} DEY Ae]D PJOD asodundiyjnW azisiaAg

Go"ees ayqesnay ,LZx,.Z. Adesauy] 404 ssaidiuo Burs) ayqixayy sdesjyan|

 

  

 

MOH OUP SAuiTIso ‘Anup? doue SE CT eee to att

SATS “Y_[/ Cah aay romped werk Id

A
Veo bd fr poh 2A seq OfIVIQ M1) alo
apis qo YOUyt! im SH US p2aGuyd stp C :

 

 

 

| av ts? IVS

y

sopevd pork cr voeq sompudd ‘ bards

wine

hes as
 

oft : kee 9-CV-01806-AMD-JO Document 2, rolled 02/26/20 Page 84 of 144 PagelD #: 87

a
August 21, 2079 431.98 valmiki ramani

Return complete poms

Your return is complete. Your refund has been issued. Vihen will} get my refund? Track

Extra Large ice Pack for injuries - Cavers Entire Back, Hips, Neck and Spine. Reusable and 1 View

Flexible Direct from: The Freezer (by Magic Gel} ae

Sold by: Stratlor Oaline Le

235.99 --

ae

| Buy it again / Wri

pg) my sae

ok 4 ect ’ pacl west

 
CIEL COURT OF THE CITY OF NEW YORK
COLNTY OF QUEENS —

VALMIKT RAMAN
STIPULATION OF SETTLEMENT
Pinintifl,
» against ~
bulex No CV-026077-12.0L
AMAZON.COM, :
Defendant

Ti js hereby stipulased and agreed by and between the parties that the above-referenced
zeiton ix setilext as follows:

Defendant Amezon.com 47°13") shall pay Plaintil Valmiki Ramaui (-Plaintif}
two-thousand dollars (52,000,00). In exchange, Plaintiff agrees to discontinue this lawsuit with
jrcjuclice amd! relieve, release and fosever discharge Amazon and each of ins effiliates,
subsidiaries, attorneys, agents, officers, directors, shamholders. members, and employees
{uglioctively “Representatives”) of and front any and all losses, liabilities. dem uns i. costs,
expenses, damages, claims, suits, actions and cauess uf action of whatever Lint or nature against
Ammon and its Representatives arising from or culating to this litigation. 7

This Stipulation may be signed in counterparts and facsimile signamures are valid and

  

Py
i. - # j a
yo hp 1 ae
Lees i Se
Plas fF Valmiki Raman Esmee Brosell, counsel for Defendant
ae Dy ; ye fo Amazon.com
Puna A “ eee Dated: gy Be nae P

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 86 of 144 PagelD #: 89

CIVIL (AHIRT GP TRE CITY OF NEW YORK,

COUNTY GF QUEENS
VALMIKI RAMANI,
'  STEPULATION OF
Paint. . . DISCONTEINUANCE WITH
|. - FRESUDICE
~ Byamal - :
AMAZON.COM, | ~  Fadex No, CV-B2607 7 OL

Defomulant.

TY IS REREBY SFIPULATED AND AGREED by the usidersigned that whereas no
Party hyrctu ts ant infant or an inconpeient person for whom a commnatee of conservater fas beer
appointed, and no person nota party has ar interest in che subject owiter of the sctipn, the ahov-
captaagd uetion, and all claims and coumtercianns asserted herein, are discontinued with
prejudice and without costs to cither party a8 againwt whe other,

‘This Supuletios may be signed in countecpans aid fevalmile signatures are valid and

 

 

binding,

f :

Z _ fo ¥ 7
Tet FR be Le .
THainttff Valoviki Ramani
bo a

eo r 7

Psi

re

a

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 87 of 144 PagelD #: 90

CVE. CORRT OF THE CFEY OF NEW YORK
COLA TY GF QUEENS

VALMIKI RAMANE -
STIPULATION OF SETTLEMENT
Phainisy,

= AGALast =
buies No CV -O20077-15,0U
AMAZON.COM,

Deferlant

ft is hereby stipufated and agreed by and between the partis that the above-referenced
zefiun iy setiled as follows:

Defendant Amazon.com ia.) shall pay PlaintiiY Valmik] Raman (Phun? >}
two-thousand dotiars (S200). in exchanpe, PlaintitT agrees to disvoutinuc this lswsuit wah
prejudice arm! celieve, celease and forever discharge Amazon and each of its affiliates,
subsidiaries, atteymcys, agents, oflicers, diveciora, sharbolders. members, and omphoyees
faoliecGyely “Representatives’) of and from any and all toaes, Habdities. demon... costs,
expenses, damages, clams, suits, actions and causes of action of whatever Aiud of nature ageing!
Aumayon amt ils Representatives arising Tram of relating to this litigation.

This Stipulation may be segned i: counterparts and facsinniie segnatures are valuf ond

 

 

hindidg.
i ‘ os ?
i oie eet
f : ; Lo EF
“A fg » fir berg web
— So — fe wT fe
Phas ff Vadiiki Bayan 2 oce?. Brourell, counsel for Defendant
. aN Amiazon cori
La of de ff
L 7 ue “ fF .
Pye * ared:
ne a.

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 88 of 144 PagelD #: 91

CIVUL COURT OF THE CITY OF NEW YORK
COUNTY GF OUEENS

VALMIRT RAMAN,
. STIPULATION OF
Plainsi ly. . DISCONTINUANCE WITH
PRETUDICE
~ SRAM! -
AMAZOALCOM, ° Index No, OV-O26677-170L

Detioulast.

TUIS REREBY STIPULATED AND AGREED hy the undersigned that whereas no
party Henete is ati infant or ag incompeignt person jor whom a comnritlee or conservatee has bees:
appornied, and mg: person nat a party hes an snletest in the subect muntey of the action, the ahove-
capi uction, and all chums and counterclaims asserted herein, are discontinued with
prejudice and witham costs te cither party as agaiayt the other,

‘This Supulauon may be sigred in counteeparts amd fecaimile signatures ace yvaikd and

  

 

bridios,
; “ee
5 : Fu g on . at et
Printiff Valintki Raunant Lo tay Toere , counsel for Defendant
AMAA
{
pe Dated:

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 89 of 144 PagelD #: 92

 

 

 

 

Civil Court of the City of New York Index Number © Y~ 031/55 €- /¥/aQY
County of _WuMcenS Motion Cal. # Motion Seq. #
Part
DECISION/ORDER
Bl if | ibe. 1 p Recitation, as required by CPLR §2219 (a), of the papeis
i My) he GLEE ’ Sa | rh 1 Ry RA Many considered in the review of this Motion:
fs Papers Numbered
Clarmtant(s) Elatntiiits)Betitioner(s) Notice of Motion and Affidavits Annexed......... /
against Order to Show Cause and Affidavits Annexed.....
, Answering Affidavils ......ccsscseeesceesseeesceres
B oA 2 : { Or Replying Affidavits.....0..sscsseceseeescveecenecees
EXNIDISi crvccsvessntccetetesiverentorsvaeestssaca ts
Defendant(s)/Respondent(s) OUT ssssssssetsseesccsssssssesscesseesetsscesesease
i a

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

til 4 { at pi, d,
ro Pll “a Je fm _f i{sainy is as follows:
‘ {
| j denhe a
\ ‘| f r
\f | f. J ; Ld | /
j ¢ A ee $C a € 9 bum fh ln y 1y bu | fica ' {f? rf $ os f
k
f é
| Wi f } f 4
{ < d Ke 7 bes Coy ol cul §f > Sa { io Holly ~ . {
‘ j , i f w i ; ’
f f if { . / y sy J | f Ce
Mew Y f LUf. fro Sil Au Fba-it , 49794 M¥62d.2¢1
7 7 ’
{ Lap , ly i \/y ¢ { I a d}
U7? { i? ( } IV (Guan Py 749 ie
f
. / f i f
"7 ) i} if I { j { { | i /
S/ fa by eet May Soy if “A fy id 1@ Or se 4¢6$ Aa St tf
af
dé FA Le Say wicd “
Civil Court
of the
City of New York
Oct 99 9Ni0
t a =< evi
fea pit)
QUEENS compe
: oe
ny  *
act 92
_ WV”
Voi LL
Date | Judge, Civil Court

t 4
i

| | — ate oy ae

| | | |___ Hon. Join .V, Kateahog |

 

CIV-GP-8S (Revised. September, 1999)

 
"Oboe Choment 22d

ee CVI 26097 19 @ @
SIMISY Sol pled P26.

CIVIL COURT OF THE CITY OF NEW YORK

? wl Ch
CC /

COUNTY OF QUEENS o 7
Si Aptor te Lt Le (| hn] Joe

jMe y (Dy. 2oume ( |

 

VALMIKI RAMANI, Wl ope
AFFIRMATION
Plaintiff,
- against -
Index No. CV-03 1556-19/QU
AMAZON.COM,
Defendant.

x

 

Taaj M. Reaves, an attorney duly admitted to the Courts of the State of New York,
hereby affirms and states under penalty of perjury as follows:

l. I am an associate at the firm Davis Wright Tremaine LLP, attorneys for
Defendant Amazon.com (“Amazon”).

2. I submit this affirmation in support of Amazon’s motion for an order pursuant to
§ 902(e) of the New York City Civil Court Act (‘NYCCA”) to direct Plaintiff Valmiki Ramani
(“Plaintiff”) to serve and file a format pleading.

3. On September 17, 2019, Plaintiff filed an “Endorsed Complaint,” attached as
Exhibit A (the “Endorsed Complaint”). The Endorsed Complaint was accompanied by what
appeared to be a formal pleading. See Exhibit A at 3-8. These documents were served on
Amazon on September 17, 2019 via fax and electronic mail. Thus, Amazon has not been
properly served with the Endorsed Complaint and reserves its right to move to dismiss on the
ground that Plaintiff failed to effectuate proper service.

4, Plaintiff filed a second “Endorsed Complaint,” attached hereto as Exhibit B, with
this Court (the “Second Endorsed Complaint”). Although the Second Endorsed Complaint” is
also dated September 17, 2019, it was not served on Amazon until September 26, 2017. The

Second Endorsed Complaint was also served via fax and electronic mail, and consists of only the

 
. Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 91 of 144 PagelD #: 94

following sentence fragment: “NEW DEVELOPMENT OF PHYSICAL DAMAGE TO MY
BODY- SKIN HAS DEVELOPED AS A RESULT OF DEFECTIVE PRODUCT SOLD —
LEAKING TOXIC GEL ON MY SKIN. AM ASKING THE MAXIMUM THIS COURT
ALLOWS OF $25,000.00.” Amazon has not been properly served with the Second Endorsed
Compliant and reserves its right to move to dismiss on the ground that Plaintiff failed to
effectuate proper service.

5. Amazon is unable to determine whether Plaintiff's second “Endorsed Complaint”
intends to incorporate the allegations from the formal pleading that accompanied his first
“Endorsed Complaint,” or whether Plaintiff is alleging new or different facts in support of his
request for increased damages.

6. Accordingly, Amazon is unable to articulate a cogent defense based on the
representation in the Endorsed Complaint of Plaintiffs “nature and substance of the cause of
action,” as required by NYCCA § 902(a)(1), and thus respectfully requests that the Court grant
its motion and order Plaintiff to file a formal pleading pursuant to § 902(e) of the NYCCA.

Dated: New York, New York
October 4, 2019

Of aey at Llanos

Taaj M. Reaves

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 92 of 144 PagelD #: 95

EXHIBIT B

 
'

Civil Court of the City of New York Index Number: CV-031556-19/QU

 

County of Queens
VALMIKI RAMANI AMENDED SUMMONS WITH
Plaintiff(s) ENDORSED
~against- COMPLAINT
AMAZON.COM BASIS OF VENUE: Plaintiff's residence
Defendant(s)
Plaintiff's Address (s) :

VALMIK!I RAMAN]
139-05 85 DR
APT 6D
BRIARWOCD, NY 11435

 

To the named defendant (s)

AMAZON.COM (Deft), at 410 TERRY AVE N, Seattle, WA 98109

YOU ARE HEREBY SUMMONED to appear in the Civil Court of the City of New York, County of Queens at the office of the Clerk
of the said Cotrt at 89-17 Sutphin Boulevard in the County of Queens, City and State of New York, within the time provided by law
as noted below and to file your answer to the (endorsed summons) (annexed complaint) * with the Clerk; upon your failure to answer,

judgment will be taken against you for the total sum of $25,000.00 and interest as detailed below.
Plaintiffs work sheet may be attached for additional information if deemed necessary by the clerk.

Date:September 17, 2019
Alia Razzaq
Chief Clerk

ENDORSED COMPLAINT
The nature and the substance of the plaintiff's cause of action is as follows: NEW DEVELOPMENT OF PHYSICAL DAMAGE TO

MY BODY-SKIN HAS DEVELOPED AS A RESULT OF DEFECTIVE PRODUCT SOLD - LEAKING TOXIC GEL ON MY SKIN.
PAM ASKING THE MAXIMUM THIS COURT ALLOWS OF $25,000.00

A) if the summons is served by its delivery to you personally within the City of New York, you must appear and answer within

TIVENTY days after such service; or
B) if the summons is served by delivery to any person other than you personally, or is served outside the City of New York, or by
publication, or by any means other than personal delivery to you within the City of New York, you are allowed THIRTY days after the
proof of service thereof is filed with the Clerk of this Court within which to appear and answer.
C} Following CPLR 32 1fa) corporations must be represented by an attorney.
* NOTE TO THE SERVER OF THE SUMMONS

The person who serves the summons should complete the Affidavit of Service and shail file it in the Clerk's Office in the county where the

action is brought.
- i
SIGN NAME: | Ae wo fC \2. DAV

PLAINTIFF'S CERTIFICATION
(See 22NYCRR, Section 130-1 fa) PRINT NAME: YALMIK] RAMANI

 
 

Extra Large Ice Pack for Injuries - Covers
Entire Back, Hips, Neck and Spine.
Reusable and Flexible Direct from The
Freezer (by Magic Gel)

f3

fof

22399

fet ds soon as Wed, Sep 718
i. ah.

PREE Sbupped on ordeis over 225 shaper) by

AV RLZON

 

ex Libit

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 95 of 144 PagelD #: 98

EXHIBIT A

 
Civil Court of the City of New York

 

County of Queens Index no: CV-031556-19/QU
VALMIKI RAMANI
Plaintiffs) Affidavit of Service of Summons
-against- with Endorsed Complaint
AMAZON.COM

Defendant(s) (Personal and Corporate)

 

 

State of New York, County of Geecens SS:
Z / ate at A ki i OVA ; being duly sworn, deposes and says:

(Name of Server)

lam over 18 years of age and not a party to this action.

 

 

 

At AM/PM, on ol tG at 139- oF SW Merve JA btiaitvoott MYES
(Time) (Date) (Address)
in the County of iv: HBC LL , City/State of New York, | served the attached
(Name of County}
SUMMONS WITH ENDORSED COMPLAINT in this matter on Amazon. Cory)

 

(Name of Defendant as Shown Above)

by delivering the said SUMMONS to:

EQX ob )ACE- FO/o. Stl6p0ena — Chil (@ AMAZON, tery whois:

(Name of actual person with whom the SUMMONS was lef)

(] The said defendant in person,
or,

>. ;
{] known to me to be the of the fA Mazo Ce “7 / Lt QC LL

(Title) (Corporation/Partnership)

 

Description of Individual Served in Person:

 

 

 

 

Sex: Calor of Skin: Color of Hair:
Approximate Age: —___ _Approximate Weight, ______. Approximate Height:
= a.
Sworn to before me aot F_,20_/ 1G eee
_—¢Stinature of Deponent)
bu fi ky Lon
a Waar Public) AKILOV SION

Notary Public, State of New York
Reg, No. O1AK6045819
Qualified in Queens Counly
Cornmission Expires July 31, 2022

 

 
Civil Court of the City of New York Index Number: CV-031556-19/QU

County of Queens

 

VALMIKI RAMANI SUMMONS WITH ENDORSED

Plaintiff(s) COMPLAINT

~against- BASIS OF VENUE; Plaintiff's residence .

AMAZON.COM

Defendant(s) Plaintiff's Address (s):

VALMIKI RAMANI
139-05 85 DR
APT 6D

BRIARWOOD, NY 11435

 

To the named defendant (s)}

AMAZON.COM (Deft), at 410 TERRY AVE N, Seattle, WA 98109

YOU ARE HEREBY SUMMONED to appear in the Civil Court of the City of New York, County of Queens at the office of the Clerk

of the said Court at 89-17 Sutphin Boulevard in the County of Queens, City and State of New York, within the time provided by law
as noted below and to file your answer to the (endorsed summons) (annexed coinpiaint) * with the Clerk; upon your failure to answer,

judgment will be taken against you for the total sum of $5,000.00 and interest as detailed below.
Plaintiffs work sheet may be attached for additional information if deemed necessary by the clerk.

Date:September 17, 2019
Alia Razzaq
Chief Clerk

ENDORSED COMPLAINT

The nature and the substance of the plaintiff's cause of action is as follows: Personal Injuries; Other: Defective product
for $5,000.00 with interest fram 09/06/2019

*NOTE TO THE DEFENDANT
A) If the summons is served by its delivery to you personally within the City of New York, you must appear and answer within
TIVENTY days after such service; or
B) ifthe summons is served by delivery to any person other than you personally, or is served outside ihe City of New York, or by
publication, or by any means other than personal delivery to you within the City of New York, you are allowed THIRTY days afier the
proof of service thereof is filed with the Clerk of this Court within which fo appear and answer.
C) Following CPLR 321 (a) corporations must be represented by an attorney.

* NOTE TO THE SERVER OF THE SUMMONS

The person who serves the summons should complete the Affidavit of Service and shall file it in the Clerk's Office in the county where the
action is brought.

? a
PLAINTIFF'S CERTIFICATION SIGN NAME: [ Manele ) omer
(See 22NYCRR, Section 130-1. 1a) PRINT NAME: VALMIKIRAMANI

 
 

The Cail Cougt oF Wew Lp.

CLOW w"{Y) oA Purews :
—t/ALmuey | LAmaw!

 

 

 

 

Lidiw'yt foe x
cuak. Low a “Pwhex vo ‘ _
Pvinc. Ze + C Die CO wpb py”

De) once ny

 

edt Cost Conplo”A Wau Uy ek SYc ne Count 4 o\ Puvens
i UP nie | ama we Scr mths LA a dq OS SS BR
J YL
ror WD (SRAL Ard) WL Lf 25, ane. bois le pases
46: da! Mawsing SPs et tpue. Qetaurs antics ‘Venlo
PWazaw? Come TWO oF Ld ERR we WU
Seattle. WA “LS109, thet [uy WLC) ‘Ho woah
SeMembpor- QOlG Toaderel cand pvee CLUE ONE,
2“ 2) Lwehes ce WitA\) Tcimg Comp Ress ata
Cost el Sb 53° A, CUS chowr j Ly Be hie: tA ott toc) uroh «

 

 

2) placed tw ts Faidag's r Reevep.ca

Caw become. Coll awed thee Lega" {0
Use We plac od) WW a Ope cont }ow few ¢ uate YO
ewvoid_F 08 bile, UN US2 Da} waa ‘ound yy
Wp and te. Nowe ine. Ci Or py aboclinor ‘
Ae Niusy CO Seco wh ‘tips ) used Were
Succes ul. however to. ipd th We. % ie
ik wary, ali Fendt NL wag oy ing Oy a. ‘fp wel
on t'd-be “wie ACE back te 2ST Na Lohae)

GY te Pee oP MéE. Ma ond vo tow muy Sicke.
rN U J

\*

 

 
le 2a when \ jetta cald d_lig ual dr ub

jWwe rately” ao up Sook. tO. ic. o a
\\ ads? owl fh \uuol B

Ch1\ mu Moc (4 DALY uot “be. yf WADA

cy} ens dg yal Of L. Ou ALL aly pl Qynn

Cone Ruth hirs SP L714 Lo pry. hy 0) pwd

 

 

 

 

 

. —> |
to. lo Wwol. ‘ Simmediatel? {dale Pee pe (L
ow e. L ane wi Perl ( +e gal Od fe kil ‘ bacluy ,
wud Took’ Lo LCo Pac. C nme 2 Lae wal 14 _

 

Le a Phas ic bee eel Jer. heat han 2.2-G ye
S20. ws hope. LC CY ole, Come Auy Z|. -2. d wh? Tp)
AVPe apy the. A lve fe al leas ths PB

Ath Gemic fe) Which boa leool dike of
CONS uf way__\. PO pn. “bh Re ‘(Ce oell war

J
lebd tig Oat Ue D tron. malic oa thot.
The AMEA thal He gel. WALD ON Wee akin herof talkepys
OW _ OX Duvk “ho ‘eed ColouR. wy thew OF ac.v-ecdep}

Yo take. Ons howe to wash Yhese 8 Q., Fane

enw. Dodey (\e aint Mwe ‘fo Mic.

3) J thew kik, STe@orol CAe@ary Deca pacsciibed
by ada Vacsfar. Ae. Q hoe. Odin parblouss cnef
peed mA wt? utc epj' bo Ti on h
Ay Gum & Compo rinot andl (2 LL ool LAY Piak
VE pool shit, D thay Doak Sunie trap

engl LeRopDeol meg obo ol. Cyr. Ang! aloupd yy ee)
body wilds sv VP Zoul ol. pul ov clothes »

(2)

 

 

 

 

 
D

@ <

* Pee male A. cal ( ~to ma {bel WA Rd)
Cae Rhysicor , won Vy Lob. Lm who \ aol
hetpinec. enol how . haa | (lod re. He
e.gp doued._ onol. ‘i Ll AAs... “lO mmnedialdy
hePohd “fo Cr Ours Chang v5 OU RL. shve pol

/
ys A hou wrest be abacty VO YV SG howe of —
Vv)
DOW? Ho M veda wt bow CUE Od | parol “4 being
CL asec bw Tx1¢ Las, A weal ww pn Cy ~ “ibe |
fo in pluisrec Coy AX sho pe bute ay dine

 

 

Vhave Sub so OLfPCe Lie J ah so [ALC
Shiv ony a& backs. 11 tote Crrpl obr_wet }e now
L| eid Sos sors, hoo entasige fAtly Loely, Phdoe h
Tle feslisgeg Ho lL . lal Lop Cpr font aX)
MAW hocks fod this Vin ay bedi ob sthptof

Y May Bh Ly: SL CLODL <

SK

 

uroz. one * Lm ices beep éhe.{ Cowl} foe. sel wg

{look guoliily oad he) OL tase paactacst fo. de. Lh O@. 02} og
ltew 6 Ky “bach, LD Lk VilLo/ jo fe Sop Vr

Db Lh.ew wed, DLA be oi Aotiuh Lvs Lod le wusrbres).
IZGUS LYLE 0 2895 7572, WN wes Receives ol

 

 

 

A 7
Bow ws uae 4/\e Sted ben A Whe? of. <“Cowe
ay Aeclice vy odiect p on S€.0.j0 pw xy _
V
Wont ely lon pense ir ) CS So 'p 4

3

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 101 of 144 PagelD #: 104

{Xow to sel Low 2 ce whoo OXY ha lange

euwe (014.0 pens 2K 2 ine. has 4 - Sadof
ot tl | eae AI £23 +99

 

Jalanrv\n a yer
Ok aw v HH.

— ‘L dal. Vn. dei \ feo. may,

 

 

 

 

 

 

 

 

AAT AKI Or PH! Tl S DS PES 247 g
Notary Public, State of now York
org Ne GUARDS ——# marl! Valuarie i) Pie
Corimission Expires O3n: 312024
Cynearl «Cog yn.”
—€ , —
Gio

 

 

Exh bits fave ac hock :

 

ud

 

f- wD) © at Ss LO Po ey ;
,

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 102 of 144 PagelD #: 105

HAZARIAN MEDICAL ASSOCIATES PLLC
4338 44™ STREET SUNNYSIDE NEW YORK 11104

7287862734

RE: RAMANI, VALMIKI

DOB 11/24/1948
TO WHOM iT MAY CONCERN:

THE ABOVE PATIENT 1S UNDER MY MEDICAL CARE FOR MULTIPLE MEDICAL PROBLEMS SEEN IN MY
OFFICE ON 09/16/19 FOR ACUTE CONTACT DERMATITIS INVOLVING HIS LEFT FLANK AND ABDOMEN
RELATED TO THE LEAKAGE OF AN ICE PACK USED BY PATIENT IN ORDER TO ALLEVIATE PAIN IN THE AREA
SEVERAL DAYS AGO, PHYSICAL EXAM REVEALS REDNESS, INFLAMMATION, AND TENDERNESS. TOPICAL
TREATMENTS WERE ADVISED. PLEASE CONTACT ME IF YOU HAVE ANY FURTHER QUESTIONS OR
CONCERNS.

SINCERELY, / \

ARTHUR HAZARIAN MD

  

FA 9
ba, 124 Ry
ay ft orp tA
ear Mtn,
Ly

09/16/2019

FE xhibst K}

 

 
CIVIL COURT OF THE CITY OF NEW YORK

 

COUNTY OF QUEENS
x
VALMIKI RAMANI,
NOTICE OF MOTION
Plaintiff,
- against -
Index No, CV-031556-19/QU
AMAZON.COM,
Defendant. :
x

 

PLEASE TAKE NOTICE that, upon the accompanying Affirmation of Taaj M. Reaves,
dated October 4, 2019, the exhibits annexed thereto, the accompanying memorandum of law, and
all other pleadings and proceedings heretofore had herein, defendant Amazon.com will move
before the Civil Court of the City of New York, County of Queens, 89-17 Sutphin Boulevard,
Jamaica, New York 11435, Part 34, Room 306, at 9:30 a.m. on October 22, 2019, or as soon
thereafter as counsel may be heard, for an order pursuant to § 902(e) of the New York City Civil
Court Act to direct Plaintiff Valmiki Ramani to serve and file a formal pleading.

PLEASE TAKE FURTHER NOTICE that pursuant to CPLR 2214(b), Plaintiff's
answering papers, if any, shall be served upon the undersigned on or before October 21, 2019.

Dated: New York, New York
October 4, 2019

Taaj M. Reaves

DAVIS WRIGHT TREMAINE LLP
1251 Avenue of the Americas, 21st Floor
New York, NY [10020

Phone: (212) 489-8230

E-mail: Taajreaves@dwt.com

 

Attorney for Defendant Amazon.com

 
CIVIL COURT OF THE CITY OF NEW YORK

 

COUNTY OF QUEENS
x
VALMIKI RAMANI,
MEMORANDUM OF LAW
Plaintiff,
~ against -
Index No, CV-031556-19/QU
AMAZON.COM,
Defendant.

Xx

 

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT'S
MOTION FOR THE FILING OF A FORMAL PLEADING

Defendant Amazon.com (“Amazon”) submits this memorandum of law tn support of its
motion for an order to direct Plaintiff Valmiki Ramani (“Plaintiff”) to file a formal pleading
pursuant to § 902(e) of the New York City Civil Court Act (NYCCA”),

Plaintiff filed an “Endorsed Complaint” as the operative pleading in this case. Pursuant
to § 902(a)(1) of the NYCCA, “[i]f the plaintiff's cause of action is for money only, the cause of
action may be set forth by indorsement upon the summons. The indorsement shall consist of a
statement of the nature and substance of the cause of action.” Section 902(e) permits the court,
“on the motion on notice of a party, [to] direct the service and filing of a formal pleading.” Jd.
§ 902(e). Courts acknowledge that a motion for the filing of a formal pleading pursuant to
§ 902(e) is appropriate not only when “courts have doubts regarding the sufficiency of an
endorsed complaint,” but also when “defendants wish to obtain more detailed facts regarding

plaintiffs claims.” Holloway v. N.Y. City Transit Auth., 182 Misc. 2d 749, 754, 755 699

 

N.Y.S.2d 261, 265, 266 (N.Y, City Civil Ct. 1999); see also Gounder vy Upton Cohen &

Slamowitz, 20 Misc. 3d 141(A) (App Term, 2d & 11th Jud Dists 2008) (“Where a court has

 

doubts regarding the sufficiency of an indorsed complaint, the compiaint should not be disinissed

 
outright, but rather the plaintiff should be directed to serve and file a formal pleading pursuant to

CCA 902(e).”); Herman _v. East Ramapo Central School District, 99 Misc,2d 696, 698, 416

 

N.Y,8.2d 1003 (Justice Court, Rockland Co. 1979) (However, where as in the case at bar the
defendant challenges the sufficiency of the complaint, it is appropriate to order plaintiff on the
Court’s own motion to serve and file a formal complaint pursuant to Section 902(e).”); Siegel,
Practice Commentaries, McKinney's Consolidated Laws of New York, Judiciary (Book 29A) —

New York City Civil Court Act § 903, at 179 (“The only motions that should be available against

 

[the efficacy of statements in endorsed complaints] are those that reasonably seek amplification,
such as a motion under § 902(e) to compel the service of a formal pleading.”).

In this case, Plaintiff filed an “Endorsed Complaint,” accompanied by what appeared to
be a formal pleading. See Reaves Aff. 1 3 & Ex. A. However, Plaintiff later filed a second
“Endorsed Complaint” with this Court. Plaintiff's second “Endorsed Complaint” consists of only
the following sentence fragment: “NEW DEVELOPMENT OF PHYSICAL DAMAGE TO MY
BODY- SKIN HAS DEVELOPED AS A RESULT OF DEFECTIVE PRODUCT SOLD —
LEAKING TOXIC GEL ON MY SKIN, PAM ASKING THE MAXIMUM THIS COURT
ALLOWS OF $25,000.00.” See Reaves Aff. 4 & Ex. B. Amazon is unable to determine
whether Plaintiffs second “Endorsed Complaint” intends to incorporate the allegations from the
formal pleading that accompanied his first “Endorsed Complaint,” or whether Plaintiff is
alleging new or different facts in support of his request for increased damages. See Reaves Aff.
45. Accordingly, Amazon requests that the Court order Plaintiff to file a formal pleading
because Amazon is unable to articulate a cogent defense based on Plaintiff’s representation of his
“nature and substance of the cause of action,” as required by NYCCA § 902(a)(1). Indeed,

Amazon’s only response to the current indorsed pleading can be to issue a general denial —

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 106 of 144 PagelD #: 109

forcing the parties into a lengthy and potentially unnecessary discovery process. By contrast, a
more fulsome formal pleading would afford both parties the opportunity to assess and potentially
resolve this litigation with full knowledge of the relevant factual and legal defenses at the outset.

For the foregoing reasons, Amazon respectfully requests that the Court grant its motion
and order Plaintiff to file a formal pleading pursuant to § 902(e) of the NYCCA.

Dated: New York, New York
October 4, 2019

Taaj M. Reaves

DAVIS WRIGHT TREMAINE LLP
1251 Avenue of the Americas, 21st Floor
New York, NY 10020

Phone: (212) 489-8230

E-mail: Taajreaves@dwt.com

 

Attorney for Defendant Amazon.com

 
Caneurcdh oy ombs- ANG) IDWS yREN a 4 Pla @xz26/20 £4 7 of 144 PagelD #: 110
Voblmite Mk

Reman 2Ti¥ione a =
apogee NOT Monat Cv-~o0315 619 / Du

_ Are 2ew + Conn

 

os pone aml

AFF EDAVL oF Seance |

 

SieXe A ew o4 owe ( auwly oY Owe ens = Werk

eta Ate ve.. or na ducky Sway
Ove Qv6es ord SAYS + J
Tam nue 18 years old aad wit o pa. ery seats. ACS -

ON =} = a5 ~ =19 Tse avec (Gay AF Rey 1S BOE LL
oo 0 :

 
   
 

7

   

CL: aerwel L AY Wy.

 

e<
ot. Cub ena — Civil > Bimez.ow ‘Cow mae Lx}

cS LL yn mons eel, Cr mp Las evict Baedly bi +3
Seeavice “fo D a csdl ona owrel ol ol ond ant /s

agony plore at (yp aowe. Aa Domest So Ruicd

|
and oy Thtowsyh Ui ae fay coy Eunos L

C14 yw ales > ~. _Z
Sworn te before yme AS dows of Y ~2018) > Z/ATA laae

 

 

WOOT oie Public

 

Notary Public, State ef Hew Yaik
Ne. 61 ATS

Srarmioncmrorevorare — 9/25/)7

yo WE

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 108 of 144 PagelD #: 111

HAZARIAN MEDICAL ASSOCIATES PLLC
4338 44™ STREET SUNNYSIDE NEW YORK 11104

7287862734

RE: RAMANI, VALMIKI

DOB 11/24/1948
TO WHOM IT MAY CONCERN:

THE ABOVE PATIENT IS UNDER MY MEDICAL CARE FOR MULTIPLE MEDICAL PROBLEMS SEEN IN MY
OFFICE ON 09/16/19 FOR ACUTE CONTACT DERMATITIS INVOLVING HIS LEFT FLANK AND ABDOMEN
RELATED TO THE LEAKAGE OF AN ICE PACK USED BY PATIENT IN ORDER TO ALLEVIATE PAIN IN THE AREA
SEVERAL DAYS AGO. PHYSICAL EXAM REVEALS REDNESS, INFLAMMATION, AND TENDERNESS. TOPICAL
TREATMENTS WERE ADVISED. PLEASE CONTACT ME IF YOU HAVE ANY FURTHER QUESTIONS OR
CONCERNS.

SINCERELY, \
af

ARTHUR HAZARIAN MD

  

09/16/2019

Ev h bor “4 ay

 
 

 

   

 

tomers to-experierice: Please do not worry, I'l be helping you out in this regard,

aitisd: your’ Comments to-our concern deparment 16 ensure thal this Is not repeated In future, |

 

‘We would-never vith tHe best of our service, however, sometimes we fail to do.so due to factors out of our

control.

 

uriderstanding-you:have displayed thus far. We hope to keep you as payt of our valued customer

      

 

'.” Rest assured, we'ilconti

i

 

 

It is ouf privilege-to hav valued Gusto ne

    

 

 
 

Case 1:20-Cv-01806-AMD-JQ.:- Document 2 Filed 02/26/20 Page 110 of 144. PagelD #: 113 —

 

Best Regards.”
Rain-séag™
Amazon.com,

Your teedbatk 1s:
Dita :

“7

I've missed anything or

happy customer.

 

If you wish to ask something e

\se

please don't hesitate
ayqibya YWSH 40 WSs

uozeLUYy
Aq paddiys o7¢ Jano siapio ue Gurddiys 4444

£ PO ‘MOMOWOL SP UOOS SP 7 1aH

662C$

Got
““pNpayy - foHaY Uled CI} ‘OB “eEIARNS
‘eg 104 yDed Ae} pyoD vsodundyyn|
IZISIIAG yqesnoy ,LZX,.ZL Adesayy

J0j ssaidwioy Bury ayqixayy sdesyaap|

 

 
 

 

Rall over image to zoam in

Aa CBRE Ee re SOP Cangy, COSLUSTHES, aft9 thor’

IceWraps Flexible Icing Compress for Therapy 12"x21" Reusable
Oversize Multipurpose Cold Clay Pack for Back, Sciatica, Knee, Hip

Pain Relief - includes Free Bonus Fabric Cove
by eWraps .
4 ‘ 209 ratings | 17 answered questions

Price; $23.99 & FREE Shipping on orders over $25 shipped by Amazon: Details

Get $69 off Instantly: Pay $0.00 upon approval far the Amazon.com Store Card.

« Flexible when frozen and long lasting = Inner filing is made with alt-natural healing clay and olls, Formulated

to release st a stabie and soothing cool temperature over on éxtended period of time.
e Extra Large 12721", Includes soft washable fabirtc cover to keep skin comfortable & dry from condensation.
« Recommended by dectors fer preventing injuries or post surgery recovery, Stays cold up to 45 minutes,
« Great for chronic pain. pinched nerve, sciatica, joint inflammation, hip injury, arthritis, or bursitis.
« leeWraps is committed to your satisfaction and stands by Its ‘1 yeer warranty against any quality issues,

t new from $23.99

C) Report incorrect produec infarmation.

-{n Stock,

 

$23.99

& FREE Shipping on orders over
$25 shipped by Amazon, Detatis
Arrlves; Oct 8 + 11

Fastest delivery: Tomorrow
Order within 7Q hrs 30 nins

® Bellver ce valeniki - Briarwood
1455

     

  

   

L

 

Add ta Cart

 

Buy Now

Sold by [ceWrops and Futhlled py
Amazon,

FSA of M54 oligible Ocsails

 
TUM

227

Mala |
1 pet |
NG

 

 

 

6G'C24.
DUO HOPES Aq pos ¢
: . (ag Bey AQ) 4aZaa2-) BY Woy pang ayqmayy
pue agesnay “aurds pure won 'sdiy *yIeB Sing sano - seunfuy 10; y3vq aay aby eXy

 

epungasa Au 126 { yen LSA Pansst Usaag SPY PUNyal INO, “eya;dwWO03 St LUNA INO),
3}9)dW0) Win}oY

~ JIBLUBE PyUyen BG LS5 GLOZ ‘LZ wsnboy
Ol dlHS WEOL (39¥1d W300

 

 
 

 
 

 

Mon, Send, 3:27 PM (5 days ago - an,

 

perience: Please do not-worry. I'll be helping you out-in this regard.

nig to-our concern’department to ensure. that this Is not repeated In future.

jest‘of our service, however, sometimes we-fall to do.so due to factors out of our

 

 

whe

 

 

 

We: hope:to keep you'as part of our valued customer

So" base-for ayer

vie displaysd-thus far.

 

 

 
 

 

 

 

Issed anythirig-oF If yok wish 10 ask sortiethin ‘else; please con't hesitate

 

 

 

 
3yqibtya WSH 40 YS4
. uOZeuUYy

Aq paddiys oz¢ Jano ssapio uo Burddiys 444u4
€ IO ‘MOIOWO] SE UGOS SPI ]aD

66&CS

60

“pny - foray Uied diy ‘aauy ‘eI1e1DS
‘peg JO} xe, AB} PyoD asodundyAnp
IZISIOAQ a}qesnay ,LZX.2b Adeswayy

Joy sSoiduioy Burd} ayqixay4 sdeayyacy

 

 
 

 

 

 

Th ee et ee ed SHop Condy, CUSLUITIES, AMG roe

IceWraps Flexible Icing Compress for Therapy 12"x21" Reusable
Oversize Multipurpose Cold Clay Pack for Back, Sciatica, Knee, Hip

Pain Relief - Includes Free Bonus Fabric Cove
by Ieeraps :
‘ 209 ratings | 17 answered questions

Price: $23.99 & FREE Shipping on orders over $25 shipped by Amazon: Details

Get $60 off instantly: Pay $0.00 upon approval for the Amazon.com Store Card,

+ Flexible when frozen and long lasting - inner Alling is made with all-natural hasling clay and oijs. Formulated

to release at a stable and saothing cool temperature over an extended perlod of time,
¢ Extra Large 12"%21", Includes soft washable fabde taver to keep skin comfortable & dry from condanaat
» Recommended by doctors for preventing inhities or post surgery recovery. Stays cold up to 45 minutes,
¢ Great for chronic pain, pinched nerve, selatica, joint inflammation, hip Injury, arthrttls, or bursitis,
* jeeWras is committed to your satisfaction and stands by [ts 1 year warranty against any quality issues,

1 new from $23.59

Cl Repart Incorrect product information.

$23.99

& PREE Shipping on orders over
$25 shipped by Amazon. Details
Arrives: Oet a ~ Tt

Fastest deilvery: Tomorrow
Order within 10 hes 50 mins

@® deliver to valmiki - Briarwood
11435

   

   
  

   

“In Stock. £

ay: iF

re Add to Cort

Buy Now

 

 

Sald by lee rops and Fuihtled by
Amazon.

 

F54 of HSA cligible Oc

 
 

  

 

 

 

ureBbe yt Ang

 

 

WM:
ween . oo os . BG E74
eo} DUPE VOTES ‘Aq pyas
{j29 2Gey Ag) sazaaIg ay LU0Ay 3.G ayyaly
PMalA | pure ayqesnay -aunds pue YPAN ‘SdIH "922g 94Ug Ssano7 - sauinfu] 10} yIVq ady BBIET XY
ped] | spunyas Au 1a | ss uayAy “‘pansst Uaaq Sey puNyas ino, ‘a}a}dWO> st UNA! INO,
von nn 333)d Wo Win}oy
+ SUBLUBS PYRLUREA 86154 BLOZ ‘Le IsHbny

 

40 OL dIHS WLOL Gy ¥ 1d 43000

 
 

122

20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 119 of 144 PagelD #

Case 1

Bee SPECS EP er a Ge SIU GUY, Caines, atu Ore

iceWraps Flexible Icing Compress for Therapy 12"x21" Reusable
if, Oversize Multipurpose Cold Clay Pack for Back, Sciatica, Knee, Hip

‘ eee, * Pain Relief - Includes Free Bonus Fabric Cover
g 7 by ce

 

 

 
 

5.95 & FREE Shipping on orders ower $25 shipped by Amazon, [

 
 

  

* Fleuble when frozen and lang tastusg - inner Alling is made with all-naturat heating clay and oils, Formulated
ta release at a stable and saothung cool temperature over dn extended period of

» Eatraharge t2°x2t udes soft washable fabric caver to keep skin comfortable & dry from condensation.

* Recommended by doctare for preventine injuries OF past surdery recevery, Stays cold wip te 45 minus.

® Great tor chromic pain, pinched nerve, scaticer, joint inflammation, hip i yo arthuitis, Of Burs

* leeWraps 5 committed ta your satisfaction and stands by its T year waranty against any quality msucs,

 
  

 

mo.

 

  
 

 

wr

Wettiaaw wimg

 

Se

 

 

ay

aa

Qo
wa

it

£25 shipoed by Amazon, 3

Arrives: Get & - 11

Fastest delivery: Tomorrow

   

Add to Cart

Buy Now

igeWrape. and

 

FoA ar RS4 cligihle ul.

3
& FREE Shipping on order: over

 

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 120 of 144 PagelD #: 123

WA

Pay

! cranes dee
MalA i Due GRaAGH “auds OU

1yoesy

 

uiebe pAng |
4
aa eg?

He UOTpPeos (AG POS

 

pag mGey) Aq) sazaaiy Supp wud yaad sjqiajy

Baty Sarpy “Ye R Siug suaso> - sauinfuy doy yae. aay abaeq es1yg

epuryas Stu Jab | ]pAs Waly, ‘panissl Lraoq sey puNngas soy “oyapdurg) st UINISE INO,
339} dWwW0d Uinzay

FUIPLUE PYRE BGOLES GLO ‘Lz 1snbny
OL dls WIG . Ive FAH}

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 121 of 144 PagelD #: 124

- weGe yw Ang

RUAA

 

La]

  

EMA

   

Ho (PatiSsh dag sey pum pal nod “ayetchuG? seu Wada wos

3yo}duwi05 UINISH

Pays SOLES LUC |e webny

 

WA, UE te ee

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 122 of 144 PagelD #: 125

aAQIba VSH 10 VS4
UOZCUY
Ag paddiys ¢¢i aso siapio wo bumdius 4qy4

GIO WOMOLMOL SE UOOS 32 44 185

6625

GOT
“pmyauy - pooY uted diy ‘QoUyY ‘eI7eNS
‘yaeg 104 yIe, ACPD Pyop asodundnyynpl
OZISIOAQ ayqesnoy ,b7%,.7 | Adesyy
£04 SSOIGUIOD Bud, J}GIKaPYy SdeAAA Dy

 

 
 

126

ge 123 of 144 PagelD #

20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Pa

Case 1

 
 
 

| certainly understand that you have returned your “Extra Large Ice Pack for Injuries". aiso you are concerned about the gel being exposed to your abdemen.
Please accept my sincere apologize for the inconvenience. this Is definitely not what we want our valued customers to experience. Please do not worry, I'll be helping you out in this regard,

Firstly, | appreciate your effort in bringing this te our knowledge, | have marked this as priority and I've forwarded your comments to our concern department to ensure that this is not repeated In future. |
ungerstand that this must be disappointing. We certainly never wanted our customers to face such situations.

We would never want to disappoint a valued customer like you as we always endeavor to assist our customers with the best of our service, however, sometimes we fail ta do so due to factors out of our
control,

 

Our officials will investigate this particular Issue and work on taking necessary actions to correct this error in future.

One more time we apologize for this error and would like to express our gratitude for the patlence and understanding you have displayed thus far. We hope to keep you as part of our valued customer
base for a very long tme.

Regarding the return we'll send you a confirmation mail once we scan in our fulfillment center,
Rest assured, we'll continue working hard to ensure that you receive accurate service. and to minimize the chances of anything like this occurring again.

Lis our privilege to have you as our valued customer & we want to make sure you are always taken care of,
 

Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 124 of 144 PagelD #: 127

 

It is Our privilege to have you as our valued customer & we want to make sure you are always taken care of,

As an Amazon representative, | always love to fulfill my duty as | tried to be precise and accurate In the reply, however. if I've missec anything or if you wish to ask something else, please don't hesitate
to write back to us.

| really appreciate your patlence and understanding with continued support. We lock forward to see you soon as a happy customer.

Thank you for your inquiry, Did | solve your problem?

 

Best Regards.
Rain song

Amazon.com
Your feedback Is helping us bulid Earth's Most Customer-Centric Company,

by iB

 
amazoncom

Order Placed: August 21, 2019
Amazon.com order number: 111-8674163-5979409
Order Total: $31.98

Shipped on August 27, 2019

Items Ordered Price
1 of: The Vitamin Shoppe Lactase Enzyme 125MG, Supports Lactase or Dairy Digestion, $7.99

Natural Support for Healthy Digestion (100 Softgels)
Sald by: The Vitamin Shoppe (..: edt)

Condition: New
1 of: Extra Large Ice Pack for Injuries - Covers Entire Back, Hips, Neck and Spine. $23.99

Reusable and Flexible Direct from The Freezer (by Magic Gel)
Sold by: Stretton Online (+: oyay

Condition: New

Shipping Address: Item(s) Subtotal: $31.98
valmiki ramani Shipping & Handling: $8.72
139-05 85 dr Free Shipping: -$8.72
Cd
briarwood, ny 11435 Total before tax: $31.98
United States Sales Tax: $0.00
Shipping Speed: Total for This Shipment: $31.98

FREE Shipping) aa

Payment information

Payment Method: Item(s) Subtotal: $31.98
MasterCard j Last digits: 3340 Shipping & Handling: $8.72

Free Shipping: -$8.72
Billing address ipping: -$8.72

valmiki ramani Total before tax: $31.98

a 85 dr Estimated tax to be collected: $0.00

briarwood, ny 11435
United States Grand Total: $31.98

Credit Card transactions MasterCard ending in 3340: August 27, 2019: $31.98

To view the status of your order, return to {3)clur Ligvisiey.

vt P Poesy iolus ©@ 1996-2019, Amazon.com, Inc. or its affiliates

 
Civil Court of the City of New York Index Number: CV-031556-19/QU
County of Queens

 

VALMIKI RAMANI SUMMONS WITH ENDORSED

Plaintiff(s) COMPLAINT

-against- BASIS OF VENUE: Plaintiff's residence

AMAZON.COM

Defendant(s) Plaintiff's Address (s) :

VALMIKI RAMANI
139-05 85 DR
APT 6D

BRIARWOOD, NY 11435

 

To the nained defendant (s)

AMAZON.COM (Deft), at 410 TERRY AVE N, Seattle, WA 98109

YOU ARE HEREBY SUMMONED to appear in the Civil Court of the City of New York, County of Queens at the office of the Clerk

of the said Court at 89-17 Sutphin Boulevard in the County of Queens, City and State of New York, within the time provided by law
as noted below and to file your answer to the (endorsed summons) (anmexed complaint) * with the Clerk; upon your failure to answer,

judgment will be taken against you for the total sun of $5,000.00 and interest as detailed below.
Plaintiff's work sheet may be attached for additional information if deemed necessary by the clerk.

Date:September 17, 2019
Alia Razzaq

Chief Clerk

ENDORSED COMPLAINT

The nature and the substance of the plaintiff's cause of action is as follows: Personal Injuries; Other: Defective product
for $5,000.00 with interest from 09/06/2019

*NOTE TO THE DEFENDANT
A) If the summons is served by its delivery to you personally within the City of New York, you must appear and answer within
TWENTY days after such service, or
B) If the summons is served by delivery to any person other than you personally, or is served outside the City of New York, or by
publication, or by any means other than personal delivery to you within the City of New York, you are allowed THIRTY days after the
proof of service thereof is filed with the Clerk of this Court within which to appear and answer.
C) Following CPLR 321 (a) corporations must be represented by an attorney.

* NOTE TO THE SERVER OF THE SUMMONS

The person who serves the summons should complete the Affidavit of Service and shall file it in the Clerk's Office in the county where the
action is brought.

‘
PLAINTIFF'S CERTIFICATION SIGN NAME: [ Nabi a
(See 22NYCRR, Section 130-1.1a) PRINT NAME: VALMIKI RAMANI

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 127 of 144 PagelD #: 130

HAZARIAN MEDICAL ASSOCIATES PLLC
4338 44" STREET SUNNYSIDE NEW YORK 11104

7287862734

RE: RAMANI, VALMIKI

DOB 11/24/1948

TO WHOM IT MAY CONCERN:

THE ABOVE PATIENT IS UNDER MY MEDICAL CARE FOR MULTIPLE MEDICAL PROBLEMS SEEN IN MY
OFFICE ON 09/16/19 FOR ACUTE CONTACT DERMATITIS INVOLVING HIS LEFT FLANK AND ABDOMEN
RELATED TO THE LEAKAGE OF AN !CE PACK USED BY PATIENT IN ORDER TO ALLEVIATE PAIN IN THE AREA
SEVERAL DAYS AGO. PHYSICAL EXAM REVEALS REDNESS, INFLAMMATION, AND TENDERNESS. TOPICAL
TREATMENTS WERE ADVISED, PLEASE CONTACT ME IF YOU HAVE ANY FURTHER QUESTIONS OR
CONCERNS.

   

SINCERELY, ARTE,

Stay Re,

et SP. AN
Mente Mp
hay

ARTHUR HAZARIAN MD

09/16/2019

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 128 of 144 PagelD #: 131

 

 

TRANSMISSION VERIFICATION REPORT

 

 

TIME 3: 69/17/2819 15:32

NAME
FAX

TEL
SER. # + U63274M6J379882

 

 

DATE, TIME
FAX NO. /NAME
DURATION
PAGE ¢S)
RESULT

MODE

69/17 15:29
12129995899
OG: 62: 47

a8

Ok

STANDARD

ECM

 

 

 
 

TRANSMISSION VERIFICATION REPORT

 

 

 

TIME
NAME
FAX
TEL :
SER.# :

Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 129 of 144 PagelD #: 132

: 09/17/2819 15:18

U6327446J379882

 

 

DATE; TIME
FAX NO. /NAME
DURATION
PAGE(S)
RESULT

MODE

O9/17 15:89
1766766748148
66:41:22

88

OK
STANDARD
ECM

 

 

 
Civil Court of the City of New York

 

County of Queens Index no: CV-026077-19/QU
VALMIKI RAMANI
Plaintiff(s) Affidavit of Service of Summons
-against- with Endorsed Complaint
AMAZON.COM

Defendant(s) (Personal and Corporate)

State of New York, County of Si LLEE Css:

Zl At: ft A, “yt i UVA , being duly sworn, deposes and says:

(Name of Server)

 

Lam over 18 years of age and not a party to this action.

nt amrem, on FAG /19_» 3409 84h De, Boinpwoel, MZ jya5

 

 

(Time) (Date) | (Address)
in the County of WVe4 LL , City/State of New York, I served the attached
(Name of County)
SUMMONS WITH ENDORSED COMPLAINT in this matter on Amazon . Cov

 

(Name of Defendant as Shown Above)

by delivering the said SUMMONS to:

Fax (206) Abb ~Fol0 SUEpDENa — UVL@ HTING 2p. CON who is:

(Name of actual person with whom the SUMMONS was ieft)

[| The said defendant in person,
0 A vy) Apo ces
[} known to me to be the of the TMA ZoK Gy | VO COM
(Title) (Corporation/Partnership)

 

Description of Individual Served in Person:

Sex: Color of Skin: Color of Hair:
Approximate Age: Approximate Weight: Approximate Height:

Sworn to before me this f ay of Mod 20_/4 SSS
Lo —t8ign fare of Deponent)

t Bee fc Lf. AKILOV SION
(Nat aryPublic) Notary Public, State of New York
Reg. No. 01AK6045819
Qualified in Queens County
Commission Expires July 34 , 2022

 

 

 

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 131 of 144 PagelD #: 134

Civil Court of the City of New York

 

County of Queens ye?” Index no: CV-031556-19/QU
VALMIKI RAMANI most Kan
Plaintiff(s) cep | © O° Affidavit of Service of Summons
-against- i

with Endorsed Complaint

AMAZON.COM _. (ir!) (Personal and Corporate)

Defendant(s) eu

 

State of New York, County of Oece ML gg:
Ze / at a A ki / OVA __, being duly sworn, deposes and says:

(Name of Server)

I am over 18 years of age and not a party to this action.

At ,AMIPM, on ot a (39-09 Sta Reve (4 brraswivood My tes

 

 

(Time) (Date) (Address)
in the County of ty LLLLL , City/State of New York, I served the attached
(Name of County)
SUMMONS WITH ENDORSED COMPLAINT in this matter on 4A NG ZO. Cr)

 

(Name of Defendant as Shown Above)

by delivering the said SUMMONS to:

EQX (ob) Abb - 70/0 Subpoena —cévél (@ AMAZON. CY Who is:

(Name of actual person with whom the SUMMONS was left)

[] The said defendant in person,
or, Dees Zl
[] known to me to be the of the A MNazetv Ce 4/ Ly QCES<

(Title) (Corporation/Partnership)

 

Description of Individual Served in Person:

Sex: Color of Skin: Color of Hair:
Approximate SS _Approximate Weight: ss Approximate Height:

Sworn to before me afof dae 20 /f i
_—¢Signature of Deponent) :
kouDh Lj f

AKILOV SION
7 Miiay sai Notary Public, State of New York
Reg. No. 01AK6045819
Qualified in Queens County
Coramission Expires July 31, 2022

 

 

 

 

 

 
FERC

 

CIVIL COURT OF THE CITY OF NEW YORK index no U~ O 2, iss Cy Qa

COUNTY OF . : PART

 

 

AJ AL MK I \ Decent | Petitioner, . AFFIDAVIT OF SERVICE
: : pia
EmeALC.
-against- ;
hm yt 20 r+ Cd we a ba
, Respondent. Lo
STATE OF NEW Y

COUNTY OF : a seu.

Siow Bbacba Atilorpe. _ | being duly sworn,

deposes and says:

 

 

‘Tam over 18 years of age and not a party 6 this action. On - alias .
I served eS eoy FREY Rou oLL Avago deel
upon _Ggeotl Eeef Brow poll (0 Wi. “om, the: _ in this © |

 

i War L} ™
proceeding, by mailing a true copy of the attached papers, enclosed and properly sealed in a

postpaid envelope, which I deposited in an official depository under the exclusive care and

custody of the United States Postal Services within the State of New York addressed to |
Gee Fo Roy Crowne La pwrz Lom tte yow, yoede Lego. Agent

at Davis W RAN TRemane @LLP y V25f frue J hes
RAL dyWy [Po20” Sgn ip Le A

Sworn to before me this $5 day of G . 20/' GF

 

 

 

Cc. age : ZLATA AKILOVA
Notary Public or . Notary Pubiic, Stale of New York
" . Reg. No. OTAKG355611

Quatified in Queens County
Coramission Expires 03/13/2024

CIV-GP-1]. (March 2001)

4
F

ae

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 133 of 144 PagelD #: 136

HAZARIAN MEDICAL ASSOCIATES PLLC
4338 44™ STREET SUNNYSIDE NEW YORK 11104

7287862734

RE: RAMANI, VALMIKI

DOB 11/24/1948

TO WHOM IT MAY CONCERN:

THE ABOVE PATIENT IS UNDER MY MEDICAL CARE FOR MULTIPLE MEDICAL PROBLEMS SEEN IN MY
OFFICE ON 09/25/19 C/O SEVERAL NEW SKIN LESIONS INVOLVING HIS LEFT FLANK AND ABDOMEN
OVERLYING THE AREA WITH PREVIOUS LEAKAGE OF AN ICE PACK USED BY PATIENT IN ORDER TO
ALLEVIATE PAIN IN THE AREA OCCURRING APPROXIMATELY TWO WEEKS AGO. PHYSICAL EXAM REVEALS
SEVERAL AREAS OF VARYING SIZES OF HYPERPIGEMNTED DERMATITIS OVERLYING LEFT ANTERIOR
LOWER ABDOMEN, LEFT FLANK AND BUTTOCKS. TOPICAL TREATMENTS ARE ADVISED. PLEASE CONTACT
ME IF YOU HAVE ANY FURTHER QUESTIONS OR CONCERNS.

SINCERELY,-—

 

ARTHUR HAZARIAN MD a,

09/25/2019

 
BOS : | CO 7 4} . * Me
LC o® on yy Qy (Cy Weer t CA oe

. TLIVIIOSM A
V oleic. a

Tones CV-O31S G19 /py

Ros Pore Del

Re maw ee tT
eg eu rey ro

Wvre zon + Conn

Ore Rpea Vib OF Sere

a WYO. ibs

 

Site. A Mew ¢ uy OR Cy Dw why oF Queens:
Dada Pbeyre. he L ig chucky Swahiv

ONe- Poses ayo SAYS %
LAM pug 18 UPCRS ole aad port Dea. RAY oT HLS cS roa -

DN oJ — Ae ~L 9 J Sse. auect (seo EE Rey 1S 8Outre Ub

Dah. vlan Jeao. RoyenV “NY ME pies Vie {Goo SER ey BRI evel i A) 4) wy, ,

Co und and De | enclanst “Qwe mow © Coo: via Ema
“t 2

act Quh LNG — Cui il ‘D> Pimez.ow Copr? Clue we. jel ex ~

Co LL vin 42 OES cuncl. Cx 1) Ler oye DUK be by, Ys

Seeuvice ToD Delo, uctarwy ewol del end ants

agony Law iv ot be dowe via 0p eis onal Se peice

ow d oy tn gaush VL Fay anel i LviOrw TL

CS Iq wit “Ufless en

Sop to lve. fo pwé AS los o 4 2019 a Z/ATA Ate leva.

 

 

wsT ety Public

 

Hotery Publ, State of Rew Yark
No, 01808347793

ciified h Queen Coun /
Garni exotes HOR - Le 9 / 25 } 7

B Wee

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 135 of 144 PagelD #: 138

 

Civil Court of the City of New York Index Number: CV-031556-19/QU
County of Queens
VALMIKI RAMANI AMENDED SUMMONS WITH
Plaintiff(s) ENDORSED
-against- COMPLAINT
AMAZON.COM BASIS OF VENUE: Plaintiff's residence
Defendant(s)
Plaintiff's Address (s) :
VALMIKI RAMANI
139-05 85 DR
APT 6D

BRIARWOOD, NY 11435

 

To the named defendant (s)

AMAZON.COM (Deft), at 410 TERRY AVE N, Seattle, WA 98109

YOU ARE HEREBY SUMMONED to appear in the Civil Court of the City of New York, County of Queens at the office of the Clerk
of the said Court at 89-17 Sutphin Boulevard in the County of Queens, City and State of New York, within the time provided by law
as noted below and to file your answer to the (endorsed summons) (annexed complaint) * with the Clerk; upon your failure to answer,
judgment will be taken against you for the total sum of $25,000.00 and interest as detailed below.

Plaintiffs work sheet may be attached for additional information if deemed necessary by the clerk.

Date:September 17, 2019
Alia Razzaq
Chief Clerk

ENDORSED COMPLAINT.
The nature and the substance of the plaintiff's cause of action is as follows: NEW DEVELOPMENT OF PHYSICAL DAMAGE TO
MY BODY-SKIN HAS DEVELOPED AS A RESULT OF DEFECTIVE PRODUCT SOLD - LEAKING TOXIC GEL ON MY SKIN.
PAM ASKING THE MAXIMUM THIS COURT ALLOWS OF $25,000.00

*NOTE TO THE DEFENDANT
A) if the summons is served by its delivery to you personally within the City of New York, you must appear and answer within
TIVENTY days after such service; or
B) If the summons is served by delivery to any person other than you personally, or is served outside the City of New York, or by
publication, or by any means other than personal delivery to you within the City of New York, you are allowed THIRTY days after the
proof of service thereof is filed with the Clerk of this Court within which to appear and answer.
C) Following CPLR 321 (a) corporations must be represented by an attorney.

* NOTE TO THE SERVER OF THE SUMMONS

The person who serves the summons should complete the Affidavit of Service and shall file it in the Clerk's Office in the county where the
action is brought.

PLAINTIFF'S CERTIFICATION SIGN NAME:
(See 22NYCRR, Section 130-1. 1a) PRINT NAME: VALMIKI RAMANI

 

 
Case 1:20-cv-01806-AMD-JO Document 2 Filed 02/26/20 Page 136 of 144 PagelD #: 139

Civil Court of the City of New York

County of Queens Index no: CV-026077-19/QU
VALMIKI RAMANI

Plaintiff(s) Affidavit of Service of Summons
~against-

with Endorsed Complaint
PMAZON.COM (Personal and Corporate)
Defendant(s)

State of New York, County of fy Lili “iC ss:
ZLALA Aki hoya

(Name of Server)

 

, being duly sworn, deposes and says:

1am over 18 years of age and not a party to this action.

At ,AM/PM, on oralt4 at [34-09 kui, Qe ; Beige wool, MW las

 

 

 

(Time) (Date) (Address)
in the County of ( Vee Lo , City/State of New York, I served the attached
(Name of County)
SUMMONS WITH ENDORSED COMPLAINT in this matter on Ama ZO . COrVl

 

(Name of Defendant as Shown Above)

by delivering the said SUMMONS to:

Fax (206) Abb -fo/0 SUE PIENR — UViL@® AQMNG Zou. CON who is:

(Name of actual person with whom the SUMMONS was left)

[] The said defendant in person,
or, Mini aa
[] known to me to be the of the A MaAZOK Cy: | fro CEL
(Title) (Corporation/Partnership)

 

Description of Individual Served in Person:

 

Sex: Color of Skin: Color of Hair:
Approximate Age: Approximate Weight: Approximate Height:

Sworn to before me this s ay of Od- 20_/F__ ————<——S
? Jy i _—SSignantr€ of Deponent)
(ee —AKILOV SION

(NétaryPablic) Notary Public, State of New York |
Reg. No. 01AK6045819
Qualified in Queens County
Commission Expires July 31, 2022

 

 

 

 

  

 
Civil Court of the City of New York

 

County of Queens Index no: CV-026077-19/QU
VALMIKT RAMANI
Plaintiff(s) Affidavit of Service of Summons
~against- with Endorsed Complaint
AMAZON.COM

" Cc
Defendant(s) (Personal and Corporate}

State of New York, County of fy LLEP HE ss:

Zz / At /t A “i / DYVA , being duly sworn, deposes and says:

(Name of Server

 

Lam over 18 years of age and net a party to this action.

At ,AM/PM, on oobalta at (34-09 SY dp Be Z Being weet, M7 ies

 

 

(Time) (Date) {Address)
in the County of (Vuee LL , City/State of New York, I served the attached
{Name of County)
SUMMONS WITH ENDORSED COMPLAINT in this matter on Ama ZOU. COFV

 

(Name of Defendant as Shown Above}

by delivering the said SUMMONS to:

Fak (2.06) 466 ~Po10 Subpoena — cil Ameren. Com who is:

(Name of actual person with whom the SUMMONS was leit)

{] The said defendant in person,
or, A Cry) Irv ces
[] known to me to be the of the TMA ZoOK Vy LO COA

(Title) (Corporation/Partnership}

 

Description of Individual Served in Person:

Sex: Color of Skin: Color of Hair:

 

 

 

 

 

Approximate Age: Approximate Weight: Approximate Height:
Sworn to before me this , day o Loge 20/7 i oS
soay , [ Se
. iy signee TE of Deponent)
OHM ELLL AKILOV SION
(NotaryPiblic) Notary Public, State of New York

Reg. No. OTAK6045819
Qualified in Queens County

Commission Expires July 31, 2022

 

 

 
Cuil Cow wy Oy Coty of few Cqoek -

Coanty oF OP wees we Dew por
Wee linet flarwene — CU O31SS6-~1F/ 9x0
Vr ern te WoT ion Pe Play

vine 34 Do CB pe
je pAland—

y, tke clo} ONS§e L- THA pe. A dowel 1 Wp LLY
CA Ou Coalte at Liv M4 rth jr. may bor LS
} ethelre te dis inte wi Leg al us teoney
Ave b une fh Fle. roe at! ox fo lon Sho”

) heve, J hind Sue (aw Sert 5 bo co pirimcepilu
oa? 4) L Saeed. rn, SLESE ane eC Nance.
with oot 5 Xa} we Le. A). gic dy CD He, (Ven

Dawe fs) wave 1! DRBome a shese,
‘iad Aone Le. Pus a, Phhss dry Wo Z

His | Kine jon L| £4 free pie Viet Ls

obs gllus 1M, L Lok J yl ood 4 Ate spore |

2 L010 bn tb budfo) ph issco fof US had’
fhv ole Spe To eG 4 8 hij? ob.
Conta p¥ LV wed on atl fim on f/f
show! Ae pi Ce Lowe| pu He LA: Spay
well “exe cfu ds ol pote (110-5 Tle
pal thé [leg Jo» Me US Godepmerd (pole
Mot Sh Bp e nie 4 woth Ay “> (0b W wd)
He Come p hts ‘s Chatpemmror Lo end! wos

Se ©, Lu}. on Ip 1 Havas jezy ped hs yy Le
UW)

 

 

 
de. ¢\ynepicin Unynel agua St) | fede O (3 ee yren” lL

Crave ment poa. ahh a. eahrons atl ~e ppewl.,
ine CIty OI pcr d Aol APleg tell Le.

ip Duta 520. (2 1G poll ove Lo

Lo whe peep & on DI py adys pus wopkiee,

GQ) he. JON cea Lacled oar « ‘pcb ain Vhogehorf
f Dif Le’ DS fir? BAe pol cf tech O Ls bed Lurk ba

S pe iL yw Wwegs evr roi 7 fee pt Ae Lit +) pe Stida~
(.. rude CY iL enrol He pln raes OA Lik ela try Shey
Je fore Zi Lacf Dewy ated. thoag LL df of.
Ad bly to clewhy op ‘ bam co wd - os
Qexf . S yantch_ PL ¢ Sad i Tuck bape
lf Chul Uli fli £: 7, etl D) deesded!
Vert 1 Y Aad He A wach. Lob us Sradshe hea Lpfusry
a iit SL Coy 4 bri) LOe: POSOn a sclafe
Laer se-P 114 iT flap dal 50_o © ej stge)
Lb vel) oa 4s Lop Yi pal y 7? pode A 140: er ogg
$} dhe and along, wit) av Wm plied
Lo nv (ac a imbediod LRA I ae
DSoot tb Obema, Suv weeks Lefes
Desk. lice spe S Deect. ho be pebr DU rE£ oa pe)
had begu W brie Me pile ald of bey

ea

 

 
| babble People woRe lof bow wt Lay)
9 SoD Ped Seer “1° U PLie bs) “|
The. 9 nae ol 8 y thon Ww EFC.
O) pa% yer (Eu LT Lrg. d! 5 tom (Lp 6m ;
ok bOu-] pfoo¥s, ho Ne wseo) yo (2A
ule Lil bP US wed Q Ding SF pees
Hye LS “govepynont bs, if ninh ts v7
Cow Pensa flow ) Jo os S pou Zope Abba
jw bode poh Coun w Aote- Chv4 aS FALL
cv poi Ws Jrvvr evectoo) ho liad
wii brn Sy Look wt {le 90.5 (a.
<maine ‘Le dA S20. wb, ot ~ oJ Ji ote

She Mew Yok Posty. descpibes bauer y

3 EL p ba pus Sod Lo beige 9 5 DS ut ae

when haves A- La: Ld fiiglt ~ (
So (A Thi Curl Couat Jadee o
S 7 ep Join ae bw info (e 9) Sue, Ic

 

 

(3) Ticly Ove flees 2 aye dol Lye. oy pe he $3 nr Ke p ~

Pplesss' pry ¢ doo Kbelf, BLL. col why Ae kee pt: holy }.

“ft hue sind Y 4 _f 6222 by | Ahnrec2 997 ‘ololact x TLL,
ashi Jus & mA BLL claliye. hoe 53 fhe ork hk L. ed

\

 

 

 
dhe, Than 7 ; Saed jr dein uly A. Jrell they
A Or pil fled rede per) 20 ke Le y WAL
ll € A wad peg sou Dy De. Phe pe sf aimed
the foovy | bo pete joy ea hts shioaldey
orwell knveod IN© Ler HMa ag hl Joo po 5.0
peat me — So door (ee Wo A bbe, ato
boos Our He Aoi he ALLoS id 147-€ acl sen Bes
ja fey’ Su jof, Ae wdiudel Hick WO] A ss rd ee
w) |, led A Law Sap oF BINS 0 pie. 20™, apfer
Hea. ofhee p> led por prey > wel AccOepy
PERSOWAL Seevce WV heol ta
be FA xeol —~ OF BR mar oft both —_
pa AA So eucl D pv he-plood pid pep ot
4 COLE pep soft LeinenY £) Dg = Qog wad pact.

 

“AL Th } wo months later. LA Gel Pack. gy puted a Sep)
ior Yo c bef endl on’ ts Joxke vol nit bo
bod — Ss fein wwttally CO WSITS Lipa fact”
plein feb J | poled Sav” Jd, bay bio Pie-ber
Ve weok-Y LOCd ch potapn Jé pray Aoefoo. S Leer
a lot) [Lon vs _ Le Ag (35 J Reo payne SHOW

deny peal hos a ppest0d, i Ae me poled Sly a
i (

 
Vow Lv this laws Se of Aer He ola Preis.
fo my person Aina son cejonss
/ a V
25. Le. Jo tir ,
(fe We Sel ‘t Anime eft He. oO (2 bed trv
Aft wod ne S Pow side oles), tt pro thee
adel it Says. “TN “SVick “ 5 whic.
Weanws rt! s A OGad wed: Arima on bows
-} hem a WOR rorjacIou erg Sells, col
ae ete bag Ser fh. eed Ly ho Con a ae
beacon YVr®e le, A BS he owe) } Ama. POX
le ane eh +. oy). Sho ld Seek Ses
+ ,G yne rie). AC Se onpl Diao +). 0 bso
NW be t 0, Thee font pecd 2) Sele LO
ed wee y wag sel) ppl bie: 2h pled COPRLOA
He pod wet va Cs Sok, f wor pA) shiPled
AL pom a ted) ) Panty. a -
(2° VS equ eo TT wd yoo Ath3 oo-| Me + gel

CN

5 prt \} SWE. ess-{ nd Saeol tne S09 D
Ws Ley AD fo Lod ie “ee ymeit S nb poorer Liurd.

An or | Cow | if Ws pppoe Din Replied
— Worn Jeacl people then Twa wievetlo/

afee HO gel spice, 9 Q Faved met Pinaitod
(5)

 

 

 

 

 

 

 

 

 

 

 

 
4 S eC.L0 ral Lem Sve oy Ho. QQLy~e- b—- AAA
aS Co. 8 ih t pmeal ap, Lob b (és fe nolee)
oval how yt a: = SA uy LA ihuna >aM oy PE-&S | 4
I’ A
' ro po pele Se QLeze. ol y why t; h. ey A t Lf +h, ef
oe Shade 4 a ty pes fic. fa old GESS Soy peone
CC L A (_ D ft W022, oa Cw, Kea pol | vali a 3

Wo the “) poy chang odd the fr plo LES
SOsyy c { fay py pbé pe pprpl pheor

lm Wlapl fpf (re. 2 wlan pra. pO
gal Out e] this Laur Sard ib de

‘ot Qourj. Je jpdy J é7 .
6) Why dots Ame mr. ols rot ck Phey

Dwr 2 pvt cow pe satlom cle p. {QO
da ya \¢ chs VV VY) ‘bode Ho poo al (A.C t
ad b my bodes , 15 id: bet purse. they
fe endowed! ' 40 Heep ROC pLoves 03 coef
Ji 2p ynikyr ex) power ep L-kr? Lf. Py es
Ch sSomes Su Lderca fhe ee ey Jel to 2
ot a) 2 UNS 46 afer Aine ax LS fe

petting OA Ths, Of. ? a

 

to )

 
Con ALped Lb Dh is p12 Ji be COL ASE. Sle

Jet 54. es th is CASe pe tle. Lepp le
Dna “ht. Lt Sage {0 SF L-€- Ho. pacts
bod Awe pel pre Co ri Pond 6X los’

2) wed TAR vt a 4.0 fo a

h Hho we Count Ab roy or is wondh
ily 0 b> Clr mn eto [Cap eve. thon y) aye
hurry g fesal ly _ fA ce Ky “]

g /
This erat f

 

UAL mite 0 a.mow!
any wl P coves PL eu unl el

 

 

 

 

 

AD) Ww. tb L Lv . Sob _e Dues .é
Vase ph for.
fu av"
- Z

 

 

 

 

 

 

 

 

 
